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               Case 5:21-cv-00616-JWH-SP Document 183-37 Filed 09/07/22 Page 1 of 22 Page ID
                                         RESIDENTIAL
                                                 #:2628LISTING AGREEMENT
                                                                            (Exclusive Authorization and Right to Sell)
                                                                                         (C.A.R. Form RLA, Revised 6/20)

    Date Prepared: 11/23/2020

    1.    EXCLUSIVE RIGHT TO SELL:                                                Artur Elizarov                                     (“Seller”)
          hereby employs and grants                                   Keller Williams Luxury Homes                                  (“Broker”)
          beginning (date)       November 23, 2020          and ending at 11:59 P.M. on (date)         May 31, 2021         (“Listing Period”)
          the exclusive and irrevocable right to sell or exchange the real property described as 291 W Overlook Rd
                                                                              , situated in               Palm Springs                  (City),
                    Riverside             (County), California, 92264-8934 (Zip Code), Assessor's Parcel No. 513-363-023 (“Property”).
             This Property is a manufactured (mobile) home. See addendum for additional terms.
             This Property is being sold as part of a probate, conservatorship or guardianship. See addendum for additional terms.
    2.    LISTING PRICE AND TERMS:
          A. The listing price shall be: One Million, Three Hundred Fifty-Five Thousand
                                                                                                   Dollars ($ 1,355,000.00                  ).
          B. Listing Terms:
                                                                                                                                            .
    3. COMPENSATION TO BROKER:
       Notice: The amount or rate of real estate commissions is not fixed by law. They are set by each Broker
       individually and may be negotiable between Seller and Broker (real estate commissions include all
       compensation and fees to Broker).
          A. Seller agrees to pay to Broker as compensation for services irrespective of agency relationship(s), either X 5.000 percent
             of the listing price (or if a purchase agreement is entered into, of the purchase price), or      $                                   ,
             AND                                                                                                                    , as follows:
             (1) If during the Listing Period, or any extension, Broker, cooperating broker, Seller or any other person procures a ready,
                   willing, and able buyer(s) whose offer to purchase the Property on any price and terms is accepted by Seller, provided the
                   Buyer completes the transaction or is prevented from doing so by Seller. (Broker is entitled to compensation whether any
                   escrow resulting from such offer closes during or after the expiration of the Listing Period, or any extension.)
          OR (2) If within 180 calendar days (a) after the end of the Listing Period or any extension; or (b) after any cancellation of this
                   Agreement, unless otherwise agreed, Seller enters into a contract to sell, convey, lease or otherwise transfer the Property
                   to anyone (“Prospective Buyer”) or that person's related entity: (i) who physically entered and was shown the Property
                   during the Listing Period or any extension by Broker or a cooperating broker; or (ii) for whom Broker or any cooperating
                   broker submitted to Seller a signed, written offer to acquire, lease, exchange or obtain an option on the Property. Seller,
                   however, shall have no obligation to Broker under paragraph 3A(2) unless, not later than the end of the Listing Period
                   or any extension or cancellation, Broker has given Seller a written notice of the names of such Prospective Buyers.
          OR (3) If, without Broker's prior written consent, the Property is withdrawn from sale, conveyed, leased, rented, otherwise
                   transferred, or made unmarketable by a voluntary act of Seller during the Listing Period, or any extension.
          B. If completion of the sale is prevented by a party to the transaction other than Seller, then compensation which otherwise would
             have been earned under paragraph 3A shall be payable only if and when Seller collects damages by suit, arbitration, settlement
             or otherwise, and then in an amount equal to the lesser of one-half of the damages recovered or the above compensation, after
             first deducting title and escrow expenses and the expenses of collection, if any.
          C. In addition, Seller agrees to pay Broker:                                                                                           .
          D. Seller has been advised of Broker's policy regarding cooperation with, and the amount of compensation offered to, other brokers.
             (1) Broker is authorized to cooperate with and compensate brokers participating through the multiple listing service(s)
                   ("MLS") by offering to MLS brokers out of Broker's compensation specified in 3A, either X            2.500       percent of the
                   purchase price, or $                              .
             (2) Broker is authorized to cooperate with and compensate brokers operating outside the MLS as per Broker's policy.
          E. Seller hereby irrevocably assigns to Broker the above compensation from Seller's funds and proceeds in escrow. Broker may
             submit this Agreement, as instructions to compensate Broker pursuant to paragraph 3A, to any escrow regarding the Property
             involving Seller and a buyer, Prospective Buyer or other transferee.
          F. (1) Seller represents that Seller has not previously entered into a listing agreement with another broker regarding the Property,
                   unless specified as follows:                                                                                                 .
             (2) Seller warrants that Seller has no obligation to pay compensation to any other broker regarding the Property unless the
                   Property is transferred to any of the following individuals or entities:
                                                                                                                                                   .
             (3) If the Property is sold to anyone listed above during the time Seller is obligated to compensate another broker: (i) Broker
                   is not entitled to compensation under this Agreement; and (ii) Broker is not obligated to represent Seller in such
                   transaction.

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    RLA REVISED 6/20 (PAGE 1 OF 5)                                                                             Seller's Initials X (                 )   (          )

                                        RESIDENTIAL LISTING AGREEMENT - EXCLUSIVE (RLA PAGE 1 OF 5)
    Keller Williams Luxury Homes, 435 N. Palm Canyon Palm Springs CA 92262                                           Phone: 760-774-3066        Fax: 760-327-3991   291 W Overlook
    Will Cook                                   Produced with zipForm® by zipLogix 18070 Fifteen Mile Road, Fraser, Michigan 48026 www.zipLogix.com

                                                                                                                                                         Exhibit T - 1
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            Case 5:21-cv-00616-JWH-SP Document 183-37 Filed 09/07/22 Page 2 of 22 Page ID
    Property Address: 291 W Overlook Rd, Palm Springs, CA 92264-8934      #:2629                                                   Date: 11/23/2020
    4. A. ITEMS EXCLUDED AND INCLUDED: Unless otherwise specified in a real estate purchase agreement, all fixtures and
             fittings that are attached to the Property are included, and personal property items are excluded, from the purchase price.
             ADDITIONAL ITEMS EXCLUDED:                                                                                                                   .
             ADDITIONAL ITEMS INCLUDED: Washer, Dryer, Fridge                                                                                             .
             Seller intends that the above items be excluded or included in offering the Property for sale, but understands that: (i) the
             purchase agreement supersedes any intention expressed above and will ultimately determine which items are excluded and
             included in the sale; and (ii) Broker is not responsible for and does not guarantee that the above exclusions and/or inclusions
             will be in the purchase agreement.
        B. (1) LEASED OR NOT OWNED ITEMS: The following items are leased or not owned by Seller:
                  Solar power system          Alarm system                   Propane tank             Water Softener
                  Other
             (2) LIENED ITEMS: The following items have been financed and a lien has been placed on the Property to secure payment:
                  Solar power system          Windows or doors               Heating/Ventilation/Air conditioning system
                  Other
             Seller will provide to Buyer, as part of the sales agreement, copies of lease documents, or other documents obligating Seller
             to pay for any such leased or liened item.
    5. MULTIPLE LISTING SERVICE:
        A. WHAT IS AN MLS? The MLS is a database of properties for sale that is available and disseminated to and accessible by all other real
             estate agents who are participants or subscribers to the MLS. As set forth in paragraph 7, participants and subscribers conducting
             public marketing of a property listing must submit the property information to the MLS. Property information submitted to the MLS
             describes the price, terms and conditions under which the Seller's property is offered for sale (including but not limited to the listing
             broker's offer of compensation to other brokers). It is likely that a significant number of real estate practitioners in any given area are
             participants or subscribers to the MLS. The MLS may also be part of a reciprocal agreement to which other multiple listing services
             belong. Real estate agents belonging to other multiple listing services that have reciprocal agreements with the MLS also have access to
             the information submitted to the MLS. The MLS may further transmit listing information to Internet sites that post property listings online.
        B. WHAT INFORMATION IS PROVIDED TO THE MLS: All terms of the transaction, including sales price and financing, if applicable,
             (i) will be provided to the MLS in which the Property is listed for publication, dissemination and use by persons and entities on
             terms approved by the MLS, and (ii) may be provided to the MLS even if the Property was not listed with the MLS. Seller consents
             to Broker providing a copy of this listing agreement to the MLS if required by the MLS.
        C. WHAT IS BROKER'S MLS? Broker is a participant/subscriber to                                   CDAR                     Multiple Listing Service
             (MLS) and possibly others. That MLS is (or if checked              is not) the primary MLS for the geographic area of the Property.
             When required by paragraph 7 or by the MLS, Property will be listed with the MLS(s) specified above.

    6.   BENEFITS OF USING THE MLS; IMPACT OF OPTING OUT OF THE MLS
         A. EXPOSURE TO BUYERS THROUGH MLS: Listing property with an MLS exposes a seller's property to all real estate
            agents and brokers (and their potential buyer clients) who are participants or subscribers to the MLS or a reciprocating
            MLS. The MLS may further transmit the MLS database to Internet sites that post property listings online.
         B. IMPACT OF OPTING OUT OF MLS: If Seller elects to exclude the Property from the MLS, Seller understands and
            acknowledges that: (i) Seller is authorizing limited exposure of the Property and NO marketing or advertising of the Property
            to the public will occur; (ii) real estate agents and brokers from other real estate offices, and their buyer clients, who have
            access to that MLS may not be aware that Seller's Property is offered for sale; (iii) Information about Seller's Property
            will not be transmitted from the MLS to various real estate Internet sites that are used by the public to search for property
            listings and; (iv) real estate agents, brokers and members of the public may be unaware of the terms and conditions under
            which Seller is marketing the Property.
         C. REDUCTION IN EXPOSURE: Any reduction in exposure of the Property may lower the number of offers and negatively
            impact the sales price.
         D. NOT LISTING PROPERTY IN A LOCAL MLS: If the Property is listed in an MLS which does not cover the geographic area
            where the Property is located then real estate agents and brokers working that territory, and Buyers they represent looking
            for property in the neighborhood, may not be aware the Property is for sale.

              Seller's Initials (                     )(                   )                 Broker's/Agent's Initials (                         )(               )

    7.   PUBLIC MARKETING OF PROPERTY:
         A. CLEAR COOPERATION POLICY: MLS rules require ( Do NOT require − see 7F) that residential real property with
            one to four units and vacant lot listings be submitted to the MLS within 1 business day of any public marketing.
         B. PUBLIC MARKETING WITHIN CLEAR COOPERATION: (i) Public marketing includes, but is not limited to, flyers
            displayed in windows, yard signs, digital marketing on public facing websites, brokerage website displays, digital
            communications marketing and email blasts, multi-brokerage listing sharing networks, marketing to closed or private
            listing clubs or groups, and applications available to the general public. (ii) Public marketing does not include an
            office exclusive listing where there is direct promotion of the listing between the brokers and licensees affiliated with
            the listing brokerage, and one-to-one promotion between these licensees and their clients.
         C. “COMING SOON” STATUS IMPACT ON MARKETING: Seller is advised to discuss with Broker the meaning of
            “Coming Soon” as that term applies to the MLS in which the Property will be listed, and how any Coming Soon status
            will impact when and how a listing will be viewable to the public via the MLS. Seller does ( does not) authorize
            Broker to utilize Coming Soon status, if any.

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                                RESIDENTIAL LISTING AGREEMENT - EXCLUSIVE (RLA PAGE 2 OF 5)
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                                                                                                                                                Exhibit T - 2
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    Property Address: 291 W Overlook Rd, Palm Springs, CA 92264-8934
                                                            #:2630
        D.   Seller Instructs Broker: (MLS may require C.A.R. Form SELM or local equivalent form)
             (1) Seller instructs Broker to market the Property to the public, and to start marketing on the beginning date of this
                   Agreement or                        (date).
        OR (2)        Seller instructs Broker NOT to market the Property to the public. Seller understands that no public marketing
                   will occur and the scope of marketing that will occur will consist only of direct one-on-one promotion between
                   the brokers and licensees affiliated with the listing brokerage and their respective clients.
        E. Whether 7D(1) or 7D(2) is selected, Seller understands and agrees that should any public marketing of the
             Property occur, the Property listing will be submitted to the MLS within 1 business day.
        F.         CLEAR COOPERATION POLICY DOES NOT APPLY: Paragraphs 7A (other than the language in the
                   parenthetical), 7B, 7D and 7E do not apply to this listing. Broker shall disclose to Seller and obtain Seller's consent
                   for any instruction to not market the Property on the MLS or to the public.
    8. MLS DATA ON THE INTERNET: MLS rules allow MLS data to be made available by the MLS to additional Internet sites
        unless Broker gives the MLS instructions to the contrary. Specific information that can be excluded from the Internet as
        permitted by (or in accordance with) the MLS is as follows:
        A. PROPERTY OR PROPERTY ADDRESS: Seller can instruct Broker to have the MLS not display the Property or the
             Property address on the Internet (C.A.R. Form SELI). Seller understands that either of these opt-outs would mean
             consumers searching for listings on the Internet may not see the Property or Property's address in response to their search.
        B. FEATURE OPT-OUTS: Seller can instruct Broker to advise the MLS that Seller does not want visitors to MLS
             Participant or Subscriber Websites or Electronic Displays that display the Property listing to have the features below
             (C.A.R. Form SELI). Seller understands (i) that these opt-outs apply only to Websites or Electronic Displays of MLS
             Participants and Subscribers who are real estate broker and agent members of the MLS; (ii) that other Internet sites
             may or may not have the features set forth herein; and (iii) that neither Broker nor the MLS may have the ability to
             control or block such features on other Internet sites.
             (1) COMMENTS AND REVIEWS: The ability to write comments or reviews about the Property on those sites; or the
                   ability to link to another site containing such comments or reviews if the link is in immediate conjunction with the
                   Property display.
             (2) AUTOMATED ESTIMATE OF VALUE: The ability to create an automated estimate of value or to link to another
                   site containing such an estimate of value if the link is in immediate conjunction with the Property display.
                      Seller elects to opt out of certain Internet features as provided by C.A.R. Form SELI or the local equivalent form.
    9. SELLER REPRESENTATIONS: Seller represents that, unless otherwise specified in writing, Seller is unaware of: (i) any Notice
        of Default recorded against the Property; (ii) any delinquent amounts due under any loan secured by, or other obligation
        affecting, the Property; (iii) any bankruptcy, insolvency or similar proceeding affecting the Property; (iv) any litigation, arbitration,
        administrative action, government investigation or other pending or threatened action that affects or may affect the Property or
        Seller's ability to transfer it; and (v) any current, pending or proposed special assessments affecting the Property. Seller shall
        promptly notify Broker in writing if Seller becomes aware of any of these items during the Listing Period or any extension thereof.
    10. BROKER'S AND SELLER'S DUTIES:
        A. Broker agrees to exercise reasonable effort and due diligence to achieve the purposes of this Agreement. Unless
             Seller gives Broker written instructions to the contrary, Broker is authorized, but not required, to (i) order reports and
             disclosures including those specified in 10D as necessary, (ii) advertise and market the Property by any method and in
             any medium selected by Broker, including MLS and the Internet, and, to the extent permitted by these media, control the
             dissemination of the information submitted to any medium; and (iii) disclose to any real estate licensee making an inquiry
             the receipt of any offers on the Property and the offering price of such offers.
        B. Broker agrees to present all offers received for Seller's Property, and present them to Seller as soon as possible, unless
             Seller gives Broker written instructions to the contrary.
        C. Seller agrees to consider offers presented by Broker, and to act in good faith to accomplish the sale of the Property by,
             among other things, making the Property available for showing at reasonable times and, subject to paragraph 3F, referring
             to Broker all inquiries of any party interested in the Property. Seller is responsible for determining at what price to list and
             sell the Property.
        D. Investigations and Reports: Seller agrees, within 5 (or         ) Days of the beginning date of this Agreement, to pay for the following
             pre-sale reports:        Structural Pest Control         General Property Inspection        Homeowners Association Documents
                Other                                                                                                                            .
             If Property is located in a Common Interest Development or Homeowners Association, Seller is advised that there may
             be benefits to obtaining any required documents prior to entering into escrow with any buyer. Such benefits may include,
             but not be limited to, potentially being able to lower costs in obtaining the documents and avoiding any potential delays or
             complications due to late or slow delivery of such documents.
        E. Seller further agrees to indemnify, defend and hold Broker harmless from all claims, disputes, litigation, judgments,
             attorney fees and costs arising from any incorrect or incomplete information supplied by Seller, or from any material facts
             that Seller knows but fails to disclose including dangerous or hidden conditions on the Property.
    11. DEPOSIT: Broker is authorized to accept and hold on Seller's behalf any deposits to be applied toward the purchase price.
    12. AGENCY RELATIONSHIPS:
        A. Disclosure: The Seller acknowledges receipt of a X “Disclosure Regarding Real Estate Agency Relationships” (C.A.R. Form AD).
        B. Seller Representation: Broker shall represent Seller in any resulting transaction, except as specified in paragraph 3F.
        C. POSSIBLE DUAL AGENCY WITH BUYER: Depending upon the circumstances, it may be necessary or appropriate for Broker


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                              RESIDENTIAL LISTING AGREEMENT - EXCLUSIVE (RLA PAGE 3 OF 5)
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                                                                                                                                            Exhibit T - 3
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    Property Address: 291 W Overlook Rd, Palm Springs, CA 92264-8934      #:2631
             to act as an agent for both Seller and buyer, exchange party, or one or more additional parties (“Buyer”). Broker shall, as soon
             as practicable, disclose to Seller any election to act as a dual agent representing both Seller and Buyer. If a Buyer is procured
             directly by Broker or an associate-licensee in Broker's firm, Seller hereby consents to Broker acting as a dual agent for Seller
             and Buyer. In the event of an exchange, Seller hereby consents to Broker collecting compensation from additional parties
             for services rendered, provided there is disclosure to all parties of such agency and compensation. Seller understands and
             agrees that: a dual agent may not, without the express permission of the respective party, disclose to the other party confidential
             information, including, but not limited to, facts relating to either the Buyer's or Seller's financial position, motivations, bargaining
             position, or other personal information that may impact price, including the Seller's willingness to accept a price less than the
             listing price or the Buyer's willingness to pay a price greater than the price offered; and except as set forth above, a dual
             agent is obligated to disclose known facts materially affecting the value or desirability of the Property to both parties.
        D. CONFIRMATION: Broker shall confirm the agency relationship described above, or as modified, in writing, prior to or
             concurrent with Seller's execution of a purchase agreement.
        E. POTENTIALLY COMPETING SELLERS AND BUYERS: Seller understands that Broker may have or obtain listings on other
             properties, and that potential buyers may consider, make offers on, or purchase through Broker, property the same as or similar
             to Seller's Property. Seller consents to Broker's representation of sellers and buyers of other properties before, during and after
             the end of this Agreement. Seller acknowledges receipt of a X “Possible Representation of More than One Buyer or Seller -
             Disclosure and Consent” (C.A.R. Form PRBS).
    13. SECURITY, INSURANCE, SHOWINGS, AUDIO AND VIDEO: Broker is not responsible for loss of or damage to personal or real
        property, or person, whether attributable to use of a keysafe/lockbox, a showing of the Property, or otherwise. Third parties, including,
        but not limited to, appraisers, inspectors, brokers and prospective buyers, may have access to, and take videos and photographs of,
        the interior of the Property. Seller agrees: (i) to take reasonable precautions to safeguard and protect valuables that might be accessible
        during showings of the Property; (ii) to obtain insurance to protect against these risks. Broker does not maintain insurance to protect
        Seller. Persons visiting the Property may not be aware that they could be recorded by audio or visual devices installed by Seller (such
        as “nanny cams” and hidden security cameras). Seller is advised to post notice disclosing the existence of security devices.
    14. PHOTOGRAPHS AND INTERNET ADVERTISING:
        A. In order to effectively market the Property for sale it is often necessary to provide photographs, virtual tours and other media to
             buyers. Seller agrees (or      if checked, does not agree) that Broker or others may photograph or otherwise electronically capture
             images of the exterior and interior of the Property (“Images”) for static and/or virtual tours of the Property by buyers and others
             for use on Broker's website, the MLS, and other marketing materials and sites. Seller acknowledges that if Broker engages third
             parties to capture and/or reproduce and display Images, the agreement between Broker and those third parties may provide
             such third parties with certain rights to those Images. The rights to the Images may impact Broker's control or lack of control of
             future use of the Images. If Seller is concerned, Seller should request that Broker provide any third parties' agreement impacting
             the Images. Seller also acknowledges that once Images are placed on the Internet neither Broker nor Seller has control over
             who can view such Images and what use viewers may make of the Images, or how long such Images may remain available on
             the Internet. Seller further assigns any rights in all Images to the Broker/Agent and agrees that such Images are the property of
             Broker/Agent and that Broker/Agent may use such Images for advertising, including post sale and for Broker/Agent's business
             in the future.
        B. Seller acknowledges that prospective buyers and/or other persons coming onto the property may take photographs, videos or
             other images of the property. Seller understands that Broker does not have the ability to control or block the taking and use of
             Images by any such persons. (If checked)          Seller instructs Broker to publish in the MLS that taking of Images is limited to those
             persons preparing Appraisal or Inspection reports. Seller acknowledges that unauthorized persons may take images who do not
             have access to or have not read any limiting instruction in the MLS or who take images regardless of any limiting instruction in
             the MLS. Once Images are taken and/or put into electronic display on the Internet or otherwise, neither Broker nor Seller has
             control over who views such Images nor what use viewers may make of the Images.
    15. KEYSAFE/LOCKBOX: A keysafe/lockbox is designed to hold a key to the Property to permit access to the Property by Broker,
        cooperating brokers, MLS participants, their authorized licensees and representatives, authorized inspectors, and accompanied
        prospective buyers. Seller further agrees that Broker, at Broker's discretion, and without further approval from Seller, shall have the
        right to grant access to and convey Seller's consent to access the Property to inspectors, appraisers, workers, repair persons, and
        other persons requiring entry to the Property in order to facilitate the sale of the Property. Broker, cooperating brokers, MLS and
        Associations/Boards of REALTORS® are not insurers against injury, theft, loss, vandalism or damage attributed to the use of a
        keysafe/lockbox. Seller does (or if checked          does not) authorize Broker to install a keysafe/lockbox. If Seller does not occupy the
        Property, Seller shall be responsible for obtaining occupant(s)' written permission for use of a keysafe/lockbox (C.A.R. Form KLA).
    16. SIGN: Seller does (or if checked does not) authorize Broker to install a FOR SALE/SOLD sign on the Property.
    17. EQUAL HOUSING OPPORTUNITY: The Property is offered in compliance with federal, state and local anti-discrimination laws.
    18. ATTORNEY FEES: In any action, proceeding or arbitration between Seller and Broker to enforce the compensation provisions of
        this Agreement, the prevailing Seller or Broker shall be entitled to reasonable attorney fees and costs from the non-prevailing Seller
        or Broker, except as provided in paragraph 22A.
    19. ADDITIONAL TERMS: REO Advisory Listing (C.A.R. Form REOL) Short Sale Information and Advisory (C.A.R. Form SSIA)
           Trust Advisory (C.A.R. Form TA)
           Seller intends to include a contingency to purchase a replacement property as part of any resulting transaction




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                               RESIDENTIAL LISTING AGREEMENT - EXCLUSIVE (RLA PAGE 4 OF 5)
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                                                                                                                                         Exhibit T - 4
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    Property Address: 291 W Overlook Rd, Palm Springs, CA 92264-8934    #:2632
    20. MANAGEMENT APPROVAL: If an associate-licensee in Broker's office (salesperson or broker-associate) enters into this
        Agreement on Broker's behalf, and Broker or Manager does not approve of its terms, Broker or Manager has the right to cancel
        this Agreement, in writing, within 5 Days After its execution.
    21. SUCCESSORS AND ASSIGNS: This Agreement shall be binding upon Seller and Seller's successors and assigns.
    22. DISPUTE RESOLUTION:
        A. MEDIATION: Seller and Broker agree to mediate any dispute or claim arising between them regarding the obligation to pay
              compensation under this Agreement, before resorting to arbitration or court action. Mediation fees, if any, shall be divided equally
              among the parties involved. If, for any dispute or claim to which this paragraph applies, any party (i) commences an action
              without first attempting to resolve the matter through mediation, or (ii) before commencement of an action, refuses to mediate
              after a request has been made, then that party shall not be entitled to recover attorney fees, even if they would otherwise be
              available to that party in any such action. Exclusions from this mediation agreement are specified in paragraph 22B.
        B. ADDITIONAL MEDIATION TERMS: The following matters shall be excluded from mediation: (i) a judicial or non-judicial
              foreclosure or other action or proceeding to enforce a deed of trust, mortgage or installment land sale contract
              as defined in Civil Code §2985; (ii) an unlawful detainer action; (iii) the filing or enforcement of a mechanic's
              lien; and (iv) any matter that is within the jurisdiction of a probate, small claims or bankruptcy court. The
              filing of a court action to enable the recording of a notice of pending action, for order of attachment, receivership,
              injunction, or other provisional remedies, shall not constitute a waiver or violation of the mediation provisions.
        C. ARBITRATION ADVISORY: If Seller and Broker desire to resolve disputes arising between them through arbitration rather than
              court, they can document their agreement by attaching and signing an Arbitration Agreement (C.A.R. Form ARB).
    23. ENTIRE AGREEMENT: All prior discussions, negotiations and agreements between the parties concerning the subject matter of this
        Agreement are superseded by this Agreement, which constitutes the entire contract and a complete and exclusive expression of their
        agreement, and may not be contradicted by evidence of any prior agreement or contemporaneous oral agreement. If any provision
        of this Agreement is held to be ineffective or invalid, the remaining provisions will nevertheless be given full force and effect. This
        Agreement and any supplement, addendum or modification, including any photocopy or facsimile, may be executed in counterparts.
    24. OWNERSHIP, TITLE AND AUTHORITY: Seller warrants that: (i) Seller is the owner of the Property; (ii) no other persons or
        entities have title to the Property; and (iii) Seller has the authority to both execute this Agreement and sell the Property. Exceptions
        to ownership, title and authority are as follows:
                                                                                                                                               .
        REPRESENTATIVE CAPACITY: This Listing Agreement is being signed for Seller by an individual acting in a Representative
        Capacity as specified in the attached Representative Capacity Signature Disclosure (C.A.R. Form RCSD-S). Wherever the
        signature or initials of the representative identified in the RCSD appear on this Agreement or any related documents, it shall be
        deemed to be in a representative capacity for the entity described and not in an individual capacity, unless otherwise indicated.
        Seller (i) represents that the entity for which the individual is signing already exists and (ii) shall Deliver to Broker, within 3 Days
        After Execution of this Agreement, evidence of authority to act (such as but not limited to: applicable trust document, or portion
        thereof, letters testamentary, court order, power of attorney, resolution, or formation documents of the business entity).
    By signing below, Seller acknowledges that Seller has read, understands, received a copy of and agrees to the terms of
    this Agreement.
                                                                                                       11/23/2020 | 1:36 PM PST
    Seller X                                                                       Artur Elizarov Date
               Artur Elizarov
    Address                                                                                          City                                        State     Zip
    Telephone                                          Fax                                           E-mail

    Seller                                                                                                                                       Date

    Address                                                                                          City                                        State     Zip
    Telephone                                          Fax                                           E-mail

         Additional Signature Addendum attached (C.A.R. Form ASA)

    Real Estate Broker (Firm) Keller Williams Luxury Homes                                                                                    DRE Lic. # 01417409
    Address 435 N Palm Canyon Dr                                                                     City Palm Springs                          State CA Zip 92262-5602

    By                                               Tel. (760)565-5714              E-mail Will@WillCookRealEstate.com DRE Lic.# 01879277                     11/23/2020 | 1:33
                                                                                                                                                             Date
         WIll Cook
    By                                               Tel.                            E-mail                                          DRE Lic.#               Date

      Two Brokers with different companies are co-listing the Property. Co-listing Broker information is on the attached Additional Broker
    Acknowledgement (C.A.R. Form ABA).
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    RLA REVISED 6/20 (PAGE 5 OF 5)
                                     RESIDENTIAL LISTING AGREEMENT - EXCLUSIVE (RLA PAGE 5 OF 5)
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                                                                                                                                                  Exhibit T - 5
Case 5:21-cv-00616-JWH-SP Document 183-37 Filed 09/07/22 Page 6 of 22 Page ID
                                  #:2633

                                                          Exhibit T-1




                                                               Exhibit T - 6
DocuSign Envelope ID: 3AD33BF6-D0F1-4FC0-B41B-F563BC9C2BDE
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                      EB2F4A93-0270-4F69-9989-ABA1A3AE0074
              Case 5:21-cv-00616-JWH-SP Document 183-37 Filed 09/07/22 Page 7 of 22 Page ID
                                                #:2634CALIFORNIA
                                         RESIDENTIAL PURCHASE AGREEMENT
                                           AND JOINT ESCROW INSTRUCTIONS
                                                                                            (C.A.R. Form RPA-CA, Revised 12/18)
    Date Prepared: 02/12/2021
    1. OFFER:
       A. THIS IS AN OFFER FROM                                                                   Scott Howlett                                                                     (“Buyer”).
       B. THE REAL PROPERTY to be acquired is                                          291 W Overlook Rd, Palm Springs, CA 92264-8934                                             , situated in
                     Palm Springs             (City),        Riverside      (County), California, 92264-8934 (Zip Code), Assessor's Parcel No.                513363023           (“Property”).
         C. THE PURCHASE PRICE offered is One Million, Three Hundred Fifty-Five Thousand
                                                                                                         Dollars $ 1,355,000.00                   .
       D. CLOSE OF ESCROW shall occur on                                                           (date)(or X     21     Days After Acceptance).
       E. Buyer and Seller are referred to herein as the “Parties.” Brokers are not Parties to this Agreement.
    2. AGENCY:
       A. DISCLOSURE: The Parties each acknowledge receipt of a X “Disclosure Regarding Real Estate Agency Relationships” (C.A.R.
          Form AD).
         B. CONFIRMATION: The following agency relationships are confirmed for this transaction:
            Seller's Brokerage Firm                  Keller Williams Luxury Homes                      License Number          01417409
            Is the broker of (check one): X the seller; or    both the buyer and seller. (dual agent)
            Seller's Agent                                 Will Cook                                   License Number          01879277
            Is (check one): X the Seller's Agent. (salesperson or broker associate)       both the Buyer's and Seller's Agent. (dual agent)
            Buyer's Brokerage Firm                               Compass                               License Number          01527365
            Is the broker of (check one): X the buyer; or     both the buyer and seller. (dual agent)
            Buyer's Agent                             Maria Noel Krajco                                License Number          02092247
            Is (check one): X the Buyer's Agent. (salesperson or broker associate)        both the Buyer's and Seller's Agent. (dual agent)
       C. POTENTIALLY COMPETING BUYERS AND SELLERS: The Parties each acknowledge receipt of                                                                              a       X “Possible
           Representation of More than One Buyer or Seller - Disclosure and Consent” (C.A.R. Form PRBS).
    3. FINANCE TERMS: Buyer represents that funds will be good when deposited with Escrow Holder.
       A. INITIAL DEPOSIT: Deposit shall be in the amount of . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                            40,650.00
           (1) Buyer Direct Deposit: Buyer shall deliver deposit directly to Escrow Holder by electronic funds
           transfer,     cashier's check,     personal check,        other                                                  within 3 business days
           after Acceptance (or                                                                                                                                );
       OR (2)       Buyer Deposit with Agent: Buyer has given the deposit by personal check (or                                                                  )
           to the agent submitting the offer (or to                                                                                ), made payable to
                                                  . The deposit shall be held uncashed until Acceptance and then deposited
           with Escrow Holder within 3 business days after Acceptance (or                                                                                       ).
           Deposit checks given to agent shall be an original signed check and not a copy.
       (Note: Initial and increased deposits checks received by agent shall be recorded in Broker's trust fund log.)
       B. INCREASED DEPOSIT: Buyer shall deposit with Escrow Holder an increased deposit in the amount of . . . . . . . . . $
           within         Days After Acceptance (or                                                                                                             ).
           If the Parties agree to liquidated damages in this Agreement, they also agree to incorporate the increased
           deposit into the liquidated damages amount in a separate liquidated damages clause (C.A.R. Form
           RID) at the time the increased deposit is delivered to Escrow Holder.
       C.      ALL CASH OFFER: No loan is needed to purchase the Property. This offer is NOT contingent on Buyer
           obtaining a loan. Written verification of sufficient funds to close this transaction IS ATTACHED to this offer or
              Buyer shall, within 3 (or             ) Days After Acceptance, Deliver to Seller such verification.
       D. LOAN(S):
           (1) FIRST LOAN: in the amount of . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    $             1,004,000.00
                This loan will be conventional financing OR              FHA,           VA,         Seller financing (C.A.R. Form SFA),
                    assumed financing (C.A.R. Form AFA),          Other                                            . This loan shall be at a fixed
                rate not to exceed               % or,     an adjustable rate loan with initial rate not to exceed                                           %.
                Regardless of the type of loan, Buyer shall pay points not to exceed                                      % of the loan amount.
           (2)      SECOND LOAN in the amount of . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
                This loan will be conventional financing OR                 Seller financing (C.A.R. Form SFA),                                   assumed
                financing (C.A.R. Form AFA),       Other                                          . This loan shall be at a fixed rate not to
                exceed               % or,      an adjustable rate loan with initial rate not to exceed                                                     %.
                Regardless of the type of loan, Buyer shall pay points not to exceed                                      % of the loan amount.
           (3) FHA/VA: For any FHA or VA loan specified in 3D(1), Buyer has 17 (or                                        ) Days After Acceptance
                to Deliver to Seller written notice (C.A.R. Form FVA) of any lender-required repairs or costs that
                Buyer requests Seller to pay for or otherwise correct. Seller has no obligation to pay or satisfy lender
                requirements unless agreed in writing. A FHA/VA amendatory clause (C.A.R. Form FVAC) shall be a
                part of this Agreement.
       E. ADDITIONAL FINANCING TERMS:

         F. BALANCE OF DOWN PAYMENT OR PURCHASE PRICE in the amount of . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                                    310,350.00
            to be deposited with Escrow Holder pursuant to Escrow Holder instructions.
         G. PURCHASE PRICE (TOTAL): . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                1,355,000.00
    Buyer's Initials     (             ) (               )                                                             Seller's Initials    (             ) (                )
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    RPA-CA REVISED 12/18 (PAGE 1 OF 10)
                                       CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 1 OF 10)
    KUD Properties, 73700 Highway 111, #7 Palm Desert CA 92260                                                           Phone: (714)580-9103          Fax:                       291 W Overlook
    Maria Noel Krajco                         Produced with Lone Wolf Transactions (zipForm Edition) 231 Shearson Cr. Cambridge, Ontario, Canada N1T 1J5 www.lwolf.com



                                                                                                                                                        Exhibit T - 7
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                      2FB953FF-7D41-4893-BD7A-8A529DF53FAB
                      EB2F4A93-0270-4F69-9989-ABA1A3AE0074
             Case 5:21-cv-00616-JWH-SP Document 183-37 Filed 09/07/22 Page 8 of 22 Page ID
    Property Address: 291 W Overlook Rd, Palm Springs, CA 92264-8934 #:2635                                      Date: February 12, 2021
       H. VERIFICATION OF DOWN PAYMENT AND CLOSING COSTS: Buyer (or Buyer's lender or loan broker pursuant to paragraph
           3J(1)) shall, within 3 (or         ) Days After Acceptance, Deliver to Seller written verification of Buyer's down payment and
           closing costs. ( Verification attached.)
       I. APPRAISAL CONTINGENCY AND REMOVAL: This Agreement is (or X is NOT) contingent upon a written appraisal of the
           Property by a licensed or certified appraiser at no less than the purchase price. Buyer shall, as specified in paragraph 14B(3),
           in writing, remove the appraisal contingency or cancel this Agreement within 17 (or             ) Days After Acceptance.
       J. LOAN TERMS:
           (1) LOAN APPLICATIONS: Within 3 (or              ) Days After Acceptance, Buyer shall Deliver to Seller a letter from Buyer's lender
           or loan broker stating that, based on a review of Buyer's written application and credit report, Buyer is prequalified or
           preapproved for any NEW loan specified in paragraph 3D. If any loan specified in paragraph 3D is an adjustable rate loan, the
           prequalification or preapproval letter shall be based on the qualifying rate, not the initial loan rate. (   Letter attached.)
           (2) LOAN CONTINGENCY: Buyer shall act diligently and in good faith to obtain the designated loan(s). Buyer's qualification
           for the loan(s) specified above is a contingency of this Agreement unless otherwise agreed in writing. If there is no appraisal
           contingency or the appraisal contingency has been waived or removed, then failure of the Property to appraise at the purchase
           price does not entitle Buyer to exercise the cancellation right pursuant to the loan contingency if Buyer is otherwise qualified
           for the specified loan. Buyer's contractual obligations regarding deposit, balance of down payment and closing costs are not
           contingencies of this Agreement.
           (3) LOAN CONTINGENCY REMOVAL:
           Within 21 (or 14 ) Days After Acceptance, Buyer shall, as specified in paragraph 14, in writing, remove the loan contingency
           or cancel this Agreement. If there is an appraisal contingency, removal of the loan contingency shall not be deemed removal of
           the appraisal contingency.
           (4)     NO LOAN CONTINGENCY: Obtaining any loan specified above is NOT a contingency of this Agreement. If Buyer does not
           obtain the loan and as a result does not purchase the Property, Seller may be entitled to Buyer's deposit or other legal remedies.
           (5) LENDER LIMITS ON BUYER CREDITS: Any credit to Buyer, from any source, for closing or other costs that is agreed to
           by the Parties (“Contractual Credit”) shall be disclosed to Buyer's lender. If the total credit allowed by Buyer's lender (“Lender
           Allowable Credit”) is less than the Contractual Credit, then (i) the Contractual Credit shall be reduced to the Lender Allowable
           Credit, and (ii) in the absence of a separate written agreement between the Parties, there shall be no automatic adjustment to
           the purchase price to make up for the difference between the Contractual Credit and the Lender Allowable Credit.
       K. BUYER STATED FINANCING: Seller is relying on Buyer's representation of the type of financing specified (including but not
           limited to, as applicable, all cash, amount of down payment, or contingent or non-contingent loan). Seller has agreed to a specific
           closing date, purchase price and to sell to Buyer in reliance on Buyer's covenant concerning financing. Buyer shall pursue the
           financing specified in this Agreement. Seller has no obligation to cooperate with Buyer's efforts to obtain any financing other than
           that specified in the Agreement and the availability of any such alternate financing does not excuse Buyer from the obligation to
           purchase the Property and close escrow as specified in this Agreement.
    4. SALE OF BUYER'S PROPERTY:
        A. This Agreement and Buyer's ability to obtain financing are NOT contingent upon the sale of any property owned by Buyer.
    OR B.     This Agreement and Buyer's ability to obtain financing are contingent upon the sale of property owned by Buyer as specified
           in the attached addendum (C.A.R. Form COP).
    5. ADDENDA AND ADVISORIES:
       A. ADDENDA:                                                                Addendum #               (C.A.R. Form ADM)
              Back Up Offer Addendum (C.A.R. Form BUO)                            Court Confirmation Addendum (C.A.R. Form CCA)
              Septic, Well and Property Monument Addendum (C.A.R. Form SWPI)
              Short Sale Addendum (C.A.R. Form SSA)                               Other

       B. BUYER AND SELLER ADVISORIES:                                                          X Buyer's Inspection Advisory (C.A.R. Form BIA)
            Probate Advisory (C.A.R. Form PA)                                                     Statewide Buyer and Seller Advisory (C.A.R. Form SBSA)
            Trust Advisory (C.A.R. Form TA)                                                       REO Advisory (C.A.R. Form REO)
            Short Sale Information and Advisory (C.A.R. Form SSIA)                                Other
    6. OTHER TERMS:



    7. ALLOCATION OF COSTS
       A. INSPECTIONS, REPORTS AND CERTIFICATES: Unless otherwise agreed in writing, this paragraph only determines who
       is to pay for the inspection, test, certificate or service (“Report”) mentioned; it does not determine who is to pay for any work
       recommended or identified in the Report.
           (1)   Buyer X Seller shall pay for a natural hazard zone disclosure report, including tax     environmental    Other:
                                              prepared by SELLERS CHOICE                                                                    .
           (2)    Buyer X Seller shall pay for the following Report TERMITE PEST CONTROL REPORT AND SECT 1 CLEARANCE
               prepared bySELLERS CHOICE                                                                                                    .
           (3)    Buyer     Seller shall pay for the following Report
               prepared by                                                                                                                .
       B. GOVERNMENT REQUIREMENTS AND RETROFIT:
           (1)   Buyer X Seller shall pay for smoke alarm and carbon monoxide device installation and water heater bracing, if required by
               Law. Prior to Close Of Escrow (“COE”), Seller shall provide Buyer written statement(s) of compliance in accordance with state
               and local Law, unless Seller is exempt.
    Buyer's Initials   (      ) (                )                                                             Seller's Initials    (              ) (           )
    RPA-CA REVISED 12/18 (PAGE 2 OF 10)
                        CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 2 OF 10)
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                                                                                                                                                Exhibit T - 8
DocuSign Envelope ID: 3AD33BF6-D0F1-4FC0-B41B-F563BC9C2BDE
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                      EB2F4A93-0270-4F69-9989-ABA1A3AE0074
             Case 5:21-cv-00616-JWH-SP Document 183-37 Filed 09/07/22 Page 9 of 22 Page ID
    Property Address: 291 W Overlook Rd, Palm Springs, CA 92264-8934                                             Date: February 12, 2021
                                                                        #:2636
           (2) (i) Buyer X Seller shall pay the cost of compliance with any other minimum mandatory government inspections and reports
               if required as a condition of closing escrow under any Law.
               (ii)    Buyer X Seller shall pay the cost of compliance with any other minimum mandatory government retrofit standards
               required as a condition of closing escrow under any Law, whether the work is required to be completed before or after COE.
               (iii) Buyer shall be provided, within the time specified in paragraph 14A, a copy of any required government conducted or
               point-of-sale inspection report prepared pursuant to this Agreement or in anticipation of this sale of the Property.
       C. ESCROW AND TITLE:
           (1) (a) X Buyer X Seller shall pay escrow fee EACH PAY THIER OWN FEES                                                                    .
               (b) Escrow Holder shall be SELLERS CHOICE                                                                                             .
               (c) The Parties shall, within 5 (or      ) Days After receipt, sign and return Escrow Holder's general provisions.
           (2) (a) Buyer X Seller shall pay for owner's title insurance policy specified in paragraph 13E                                            .
               (b) Owner's title policy to be issued by SELLERS CHOICE                                                                              .
               (Buyer shall pay for any title insurance policy insuring Buyer's lender, unless otherwise agreed in writing.)
       D. OTHER COSTS:
           (1)      Buyer X Seller shall pay County transfer tax or fee IF APPLICABLE                                                               .
           (2)      Buyer X Seller shall pay City transfer tax or fee IF APPLICABLE                                                               .
           (3)      Buyer Seller shall pay Homeowners' Association (“HOA”) transfer fee                                                            .
           (4) Seller shall pay HOA fees for preparing documents required to be delivered by Civil Code §4525.
           (5)      Buyer Seller shall pay HOA fees for preparing all documents other than those required by Civil Code §4525.
           (6) Buyer to pay for any HOA certification fee.
           (7)      Buyer Seller shall pay for any private transfer fee                                                                            .
           (8)      Buyer Seller shall pay for                                                                                                     .
           (9)      Buyer Seller shall pay for                                                                                                     .
         (10) Buyer X Seller shall pay for the cost, not to exceed $ 1,200.00                                      , of a standard (or X upgraded)
               one-year home warranty plan, issued by SELLERS CHOICE                                                                       , with the
               following optional coverages: X Air Conditioner X Pool/Spa           Other:                                                              .
               Buyer is informed that home warranty plans have many optional coverages in addition to those listed above. Buyer is
               advised to investigate these coverages to determine those that may be suitable for Buyer.
           OR        Buyer waives the purchase of a home warranty plan. Nothing in this paragraph precludes Buyer's purchasing
                     a home warranty plan during the term of this Agreement.
    8. ITEMS INCLUDED IN AND EXCLUDED FROM SALE:
       A. NOTE TO BUYER AND SELLER: Items listed as included or excluded in the MLS, flyers or marketing materials are not
           included in the purchase price or excluded from the sale unless specified in paragraph 8 B or C.
       B. ITEMS INCLUDED IN SALE: Except as otherwise specified or disclosed,
           (1) All EXISTING fixtures and fittings that are attached to the Property;
           (2) EXISTING electrical, mechanical, lighting, plumbing and heating fixtures, ceiling fans, fireplace inserts, gas logs and grates,
               solar power systems, built-in appliances, window and door screens, awnings, shutters, window coverings, attached floor
               coverings, television antennas, satellite dishes, air coolers/conditioners, pool/spa equipment, garage door openers/remote
               controls, mailbox, in-ground landscaping, trees/shrubs, water features and fountains, water softeners, water purifiers, security
               systems/alarms and the following if checked: X all stove(s), except                                            ; X all refrigerator(s)
               except                                          ; X all washer(s) and dryer(s), except                                                 ;
           (3) The following additional items:                                                                                                        .
           (4) Existing integrated phone and home automation systems, including necessary components such as intranet and Internet-
               connected hardware or devices, control units (other than non-dedicated mobile devices, electronics and computers) and
               applicable software, permissions, passwords, codes and access information, are ( are NOT) included in the sale.
           (5) LEASED OR LIENED ITEMS AND SYSTEMS: Seller shall, within the time specified in paragraph 14A, (i) disclose to Buyer
               if any item or system specified in paragraph 8B or otherwise included in the sale is leased, or not owned by Seller, or
               specifically subject to a lien or other encumbrance, and (ii) Deliver to Buyer all written materials (such as lease, warranty,
               etc.) concerning any such item. Buyer's ability to assume any such lease, or willingness to accept the Property subject to
               any such lien or encumbrance, is a contingency in favor of Buyer and Seller as specified in paragraph 14B and C.
           (6) Seller represents that all items included in the purchase price, unless otherwise specified, (i) are owned by Seller and shall be
               transferred free and clear of liens and encumbrances, except the items and systems identified pursuant to 8B(5) and
                                                                           , and (ii) are transferred without Seller warranty regardless of value.
       C. ITEMS EXCLUDED FROM SALE: Unless otherwise specified, the following items are excluded from sale: (i) audio and video
           components (such as flat screen TVs, speakers and other items) if any such item is not itself attached to the Property, even if a
           bracket or other mechanism attached to the component or item is attached to the Property; (ii) furniture and other items secured
           to the Property for earthquake purposes; and (iii)

                                          . Brackets attached to walls, floors or ceilings for any such component, furniture or item
            shall remain with the Property (or will be removed and holes or other damage shall be repaired, but not painted).
    9. CLOSING AND POSSESSION:
       A. Buyer intends (or does not intend) to occupy the Property as Buyer's primary residence.
       B. Seller-occupied or vacant property: Possession shall be delivered to Buyer: (i) at 6 PM or (                                       AM/          PM) on the date of Close
          Of Escrow; (ii) no later than   calendar days after Close Of Escrow; or (iii) at          AM/                                    PM on                          .
    Buyer's Initials   (        ) (                )                                                             Seller's Initials    (              ) (             )
    RPA-CA REVISED 12/18 (PAGE 3 OF 10)
                        CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 3 OF 10)
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                      EB2F4A93-0270-4F69-9989-ABA1A3AE0074
            Case 5:21-cv-00616-JWH-SP Document 183-37 Filed 09/07/22 Page 10 of 22 Page ID
    Property Address: 291 W Overlook Rd, Palm Springs, CA 92264-8934    Date: February 12, 2021
                                               #:2637
        C. Seller remaining in possession After Close Of Escrow: If Seller has the right to remain in possession after Close Of Escrow, (i) the
           Parties are advised to sign a separate occupancy agreement such as            C.A.R. Form SIP, for Seller continued occupancy of less than
           30 days,       C.A.R. Form RLAS for Seller continued occupancy of 30 days or more; and (ii) the Parties are advised to consult with their
           insurance and legal advisors for information about liability and damage or injury to persons and personal and real property; and (iii)
           Buyer is advised to consult with Buyer's lender about the impact of Seller's occupancy on Buyer's loan.
        D. Tenant-occupied property: Property shall be vacant at least 5 (or              ) Days Prior to Close Of Escrow, unless otherwise agreed in
           writing. Note to Seller: If you are unable to deliver Property vacant in accordance with rent control and other applicable Law,
           you may be in breach of this Agreement.
        OR Tenant to remain in possession (C.A.R. Form TIP).
        E. At Close Of Escrow: Seller assigns to Buyer any assignable warranty rights for items included in the sale; and Seller shall Deliver to
           Buyer available Copies of any such warranties. Brokers cannot and will not determine the assignability of any warranties.
        F. At Close Of Escrow, unless otherwise agreed in writing, Seller shall provide keys, passwords, codes and/or means to operate all locks,
           mailboxes, security systems, alarms, home automation systems and intranet and Internet-connected devices included in the purchase
           price, and garage door openers. If the Property is a condominium or located in a common interest subdivision, Buyer may be required
           to pay a deposit to the Homeowners' Association (“HOA”) to obtain keys to accessible HOA facilities.
    10. STATUTORY AND OTHER DISCLOSURES (INCLUDING LEAD-BASED PAINT HAZARD DISCLOSURES) AND CANCELLATION RIGHTS:
        A. (1) Seller shall, within the time specified in paragraph 14A, Deliver to Buyer: (i) if required by Law, a fully completed: Federal Lead-
                Based Paint Disclosures (C.A.R. Form FLD) and pamphlet (“Lead Disclosures”); and (ii) unless exempt, fully completed disclosures
                or notices required by sections 1102 et. seq. and 1103 et. seq. of the Civil Code (“Statutory Disclosures”). Statutory Disclosures
                include, but are not limited to, a Real Estate Transfer Disclosure Statement (“TDS”), Natural Hazard Disclosure Statement (“NHD”),
                notice or actual knowledge of release of illegal controlled substance, notice of special tax and/or assessments (or, if allowed,
                substantially equivalent notice regarding the Mello-Roos Community Facilities Act of 1982 and Improvement Bond Act of 1915) and,
                if Seller has actual knowledge, of industrial use and military ordnance location (C.A.R. Form SPQ or ESD).
           (2) Any Statutory Disclosure required by this paragraph is considered fully completed if Seller has answered all questions and
                completed and signed the Seller section(s) and the Seller's Agent, if any, has completed and signed the Seller's Brokerage Firm
                section(s), or, if applicable, an Agent Visual Inspection Disclosure (C.A.R. Form AVID). Nothing stated herein relieves a Buyer's
                Brokerage Firm, if any, from the obligation to (i) conduct a reasonably competent and diligent visual inspection of the accessible
                areas of the Property and disclose, on Section IV of the TDS, or an AVID, material facts affecting the value or desirability of the
                Property that were or should have been revealed by such an inspection or (ii) complete any sections on all disclosures required to
                be completed by Buyer's Brokerage Firm.
           (3) Note to Buyer and Seller: Waiver of Statutory and Lead Disclosures is prohibited by Law.
           (4) Within the time specified in paragraph 14A, (i) Seller, unless exempt from the obligation to provide a TDS, shall, complete and
                provide Buyer with a Seller Property Questionnaire (C.A.R. Form SPQ); (ii) if Seller is not required to provide a TDS, Seller shall
                complete and provide Buyer with an Exempt Seller Disclosure (C.A.R. Form ESD).
           (5) Buyer shall, within the time specified in paragraph 14B(1), return Signed Copies of the Statutory, Lead and other disclosures to
                Seller.
           (6) In the event Seller or Seller's Brokerage Firm, prior to Close Of Escrow, becomes aware of adverse conditions materially affecting
                the Property, or any material inaccuracy in disclosures, information or representations previously provided to Buyer, Seller shall
                promptly provide a subsequent or amended disclosure or notice, in writing, covering those items. However, a subsequent or
                amended disclosure shall not be required for conditions and material inaccuracies of which Buyer is otherwise aware, or
                which are disclosed in reports provided to or obtained by Buyer or ordered and paid for by Buyer.
           (7) If any disclosure or notice specified in paragraph 10A(1), or subsequent or amended disclosure or notice is Delivered to Buyer after
                the offer is Signed, Buyer shall have the right to cancel this Agreement within 3 Days After Delivery in person, or 5 Days After
                Delivery by deposit in the mail, or by an electronic record satisfying the Uniform Electronic Transactions Act (UETA), by giving
                written notice of cancellation to Seller or Seller's agent.
        B. NATURAL AND ENVIRONMENTAL HAZARD DISCLOSURES AND OTHER BOOKLETS: Within the time specified in paragraph 14A,
           Seller shall, if required by Law: (i) Deliver to Buyer earthquake guide(s) (and questionnaire), environmental hazards booklet, and home
           energy rating pamphlet; (ii) disclose if the Property is located in a Special Flood Hazard Area; Potential Flooding (Inundation) Area;
           Very High Fire Hazard Zone; State Fire Responsibility Area; Earthquake Fault Zone; and Seismic Hazard Zone; and (iii) disclose any
           other zone as required by Law and provide any other information required for those zones.
        C. WITHHOLDING TAXES: Within the time specified in paragraph 14A, to avoid required withholding, Seller shall Deliver to Buyer or
           qualified substitute, an affidavit sufficient to comply with federal (FIRPTA) and California withholding Law (C.A.R. Form AS or QS).
        D. MEGAN'S LAW DATABASE DISCLOSURE: Notice: Pursuant to Section 290.46 of the Penal Code, information about specified
           registered sex offenders is made available to the public via an Internet Web site maintained by the Department of Justice at
           www.meganslaw.ca.gov. Depending on an offender's criminal history, this information will include either the address at which the
           offender resides or the community of residence and ZIP Code in which he or she resides. (Neither Seller nor Brokers are required to
           check this website. If Buyer wants further information, Broker recommends that Buyer obtain information from this website during
           Buyer's inspection contingency period. Brokers do not have expertise in this area.)
        E. NOTICE REGARDING GAS AND HAZARDOUS LIQUID TRANSMISSION PIPELINES: This notice is being provided simply to inform
           you that information about the general location of gas and hazardous liquid transmission pipelines is available to the public via the
           National Pipeline Mapping System (NPMS) Internet Web site maintained by the United States Department of Transportation at
           http://www.npms.phmsa.dot.gov/. To seek further information about possible transmission pipelines near the Property, you may
           contact your local gas utility or other pipeline operators in the area. Contact information for pipeline operators is searchable by ZIP
           Code and county on the NPMS Internet Web site.
        F. CONDOMINIUM/PLANNED DEVELOPMENT DISCLOSURES:
           (1) SELLER HAS: 7 (or              ) Days After Acceptance to disclose to Buyer if the Property is a condominium, or is located in a
           planned development or other common interest subdivision (C.A.R. Form SPQ or ESD).

    Buyer's Initials   (       ) (                )                                                             Seller's Initials    (              ) (           )

    RPA-CA REVISED 12/18 (PAGE 4 OF 10)
                        CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 4 OF 10)
                            Produced with Lone Wolf Transactions (zipForm Edition) 231 Shearson Cr. Cambridge, Ontario, Canada N1T 1J5   www.lwolf.com    291 W Overlook


                                                                                                                                              Exhibit T - 10
DocuSign Envelope ID: 3AD33BF6-D0F1-4FC0-B41B-F563BC9C2BDE
                      2FB953FF-7D41-4893-BD7A-8A529DF53FAB
                      EB2F4A93-0270-4F69-9989-ABA1A3AE0074
            Case 5:21-cv-00616-JWH-SP Document 183-37 Filed 09/07/22 Page 11 of 22 Page ID
    Property Address: 291 W Overlook Rd, Palm Springs, CA 92264-8934                                  Date: February 12, 2021
                                                                   #:2638
            (2) If the Property is a condominium or is located in a planned development or other common interest subdivision, Seller                    has
            3 (or        ) Days After Acceptance to request from the HOA (C.A.R. Form HOA1): (i) Copies of any documents required by Law;
            (ii) disclosure of any pending or anticipated claim or litigation by or against the HOA; (iii) a statement containing the location and
            number of designated parking and storage spaces; (iv) Copies of the most recent 12 months of HOA minutes for regular and special
            meetings; and (v) the names and contact information of all HOAs governing the Property (collectively, “CI Disclosures”). (vi) private
            transfer fees; (vii) Pet fee restrictions; and (viii) smoking restrictions. Seller shall itemize and Deliver to Buyer all CI Disclosures
            received from the HOA and any CI Disclosures in Seller's possession. Buyer's approval of CI Disclosures is a contingency of this
            Agreement as specified in paragraph 14B(3). The Party specified in paragraph 7, as directed by escrow, shall deposit funds into escrow
            or direct to HOA or management company to pay for any of the above.
    11. CONDITION OF PROPERTY: Unless otherwise agreed in writing: (i) the Property is sold (a) “AS-IS” in its PRESENT
        physical condition as of the date of Acceptance and (b) subject to Buyer's Investigation rights; (ii) the Property, including pool, spa,
        landscaping and grounds, is to be maintained in substantially the same condition as on the date of Acceptance; and (iii) all debris
        and personal property not included in the sale shall be removed by Close Of Escrow.
        A. Seller shall, within the time specified in paragraph 14A, DISCLOSE KNOWN MATERIAL FACTS AND DEFECTS affecting the
            Property, including known insurance claims within the past five years, and make any and all other disclosures required by law.
        B. Buyer has the right to conduct Buyer Investigations of the Property and, as specified in paragraph 14B, based upon information
            discovered in those investigations: (i) cancel this Agreement; or (ii) request that Seller make Repairs or take other action.
        C. Buyer is strongly advised to conduct investigations of the entire Property in order to determine its present condition.
            Seller may not be aware of all defects affecting the Property or other factors that Buyer considers important. Property
            improvements may not be built according to code, in compliance with current Law, or have had permits issued.
    12. BUYER'S INVESTIGATION OF PROPERTY AND MATTERS AFFECTING PROPERTY:
        A. Buyer's acceptance of the condition of, and any other matter affecting the Property, is a contingency of this Agreement as specified in
            this paragraph and paragraph 14B. Within the time specified in paragraph 14B(1), Buyer shall have the right, at Buyer's expense unless
            otherwise agreed, to conduct inspections, investigations, tests, surveys and other studies (“Buyer Investigations”), including, but not
            limited to: (i) a general physical inspection; (ii) an inspection specifically for wood destroying pests and organisms. Any inspection for
            wood destroying pests and organisms shall be prepared by a registered Structural Pest Control company; shall cover the main building
            and attached structures; may cover detached structures; shall NOT include water tests of shower pans on upper level units unless the
            owners of property below the shower consent; shall NOT include roof coverings; and, if the Property is a unit in a condominium or other
            common interest subdivision, the inspection shall include only the separate interest and any exclusive-use areas being transferred, and
            shall NOT include common areas; and shall include a report (“Pest Control Report”) showing the findings of the company which shall be
            separated into sections for evident infestation or infections (Section 1) and for conditions likely to lead to infestation or infection (Section
            2); (iii) inspect for lead-based paint and other lead-based paint hazards; (iv) satisfy Buyer as to any matter specified in the attached
            Buyer's Inspection Advisory (C.A.R. Form BIA); (v) review the registered sex offender database; (vi) confirm the insurability of Buyer
            and the Property including the availability and cost of flood and fire insurance; and (vii) review and seek approval of leases that may
            need to be assumed by Buyer. Without Seller's prior written consent, Buyer shall neither make nor cause to be made: invasive or
            destructive Buyer Investigations, except for minimally invasive testing required to prepare a Pest Control Report; or inspections by any
            governmental building or zoning inspector or government employee, unless required by Law.
        B. Seller shall make the Property available for all Buyer Investigations. Buyer shall (i) as specified in paragraph 14B, complete
            Buyer Investigations and either remove the contingency or cancel this Agreement, and (ii) give Seller, at no cost, complete
            Copies of all such Investigation reports obtained by Buyer, which obligation shall survive the termination of this Agreement.
        C. Seller shall have water, gas, electricity and all operable pilot lights on for Buyer's Investigations and through the date possession
            is made available to Buyer.
        D. Buyer indemnity and seller protection for entry upon property: Buyer shall: (i) keep the Property free and clear of liens; (ii) repair
            all damage arising from Buyer Investigations; and (iii) indemnify and hold Seller harmless from all resulting liability, claims, demands,
            damages and costs. Buyer shall carry, or Buyer shall require anyone acting on Buyer's behalf to carry, policies of liability, workers'
            compensation and other applicable insurance, defending and protecting Seller from liability for any injuries to persons or property
            occurring during any Buyer Investigations or work done on the Property at Buyer's direction prior to Close Of Escrow. Seller is advised
            that certain protections may be afforded Seller by recording a “Notice of Non-Responsibility” (C.A.R. Form NNR) for Buyer
            Investigations and work done on the Property at Buyer's direction. Buyer's obligations under this paragraph shall survive the termination
            of this Agreement.
    13. TITLE AND VESTING:
        A. Within the time specified in paragraph 14, Buyer shall be provided a current preliminary title report (“Preliminary Report”). The
            Preliminary Report is only an offer by the title insurer to issue a policy of title insurance and may not contain every item affecting title.
            Buyer's review of the Preliminary Report and any other matters which may affect title are a contingency of this Agreement as specified
            in paragraph 14B. The company providing the Preliminary Report shall, prior to issuing a Preliminary Report, conduct a search of the
            General Index for all Sellers except banks or other institutional lenders selling properties they acquired through foreclosure (REOs),
            corporations, and government entities. Seller shall within 7 Days After Acceptance, give Escrow Holder a completed Statement of
            Information.
        B. Title is taken in its present condition subject to all encumbrances, easements, covenants, conditions, restrictions, rights and other
            matters, whether of record or not, as of the date of Acceptance except for: (i) monetary liens of record (which Seller is obligated to pay
            off) unless Buyer is assuming those obligations or taking the Property subject to those obligations; and (ii) those matters which Seller
            has agreed to remove in writing.
        C. Within the time specified in paragraph 14A, Seller has a duty to disclose to Buyer all matters known to Seller affecting title,
            whether of record or not.
        D. At Close Of Escrow, Buyer shall receive a grant deed conveying title (or, for stock cooperative or long-term lease, an assignment
            of stock certificate or of Seller's leasehold interest), including oil, mineral and water rights if currently owned by Seller. Title shall
            vest as designated in Buyer's supplemental escrow instructions. THE MANNER OF TAKING TITLE MAY HAVE SIGNIFICANT
            LEGAL AND TAX CONSEQUENCES. CONSULT AN APPROPRIATE PROFESSIONAL.
        E. Buyer shall receive a CLTA/ALTA “Homeowner's Policy of Title Insurance”, if applicable to the type of property and buyer. If not, Escrow
            Holder shall notify Buyer. A title company can provide information about the availability, coverage, and cost of other title policies and
            endorsements. If the Homeowner's Policy is not available, Buyer shall choose another policy, instruct Escrow Holder in writing and shall
            pay any increase in cost.
    Buyer's Initials   (        ) (                )                                                             Seller's Initials    (              ) (           )
    RPA-CA REVISED 12/18 (PAGE 5 OF 10)
                        CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 5 OF 10)
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                                                                                                                                               Exhibit T - 11
DocuSign Envelope ID: 3AD33BF6-D0F1-4FC0-B41B-F563BC9C2BDE
                      2FB953FF-7D41-4893-BD7A-8A529DF53FAB
                      EB2F4A93-0270-4F69-9989-ABA1A3AE0074
            Case 5:21-cv-00616-JWH-SP Document 183-37 Filed 09/07/22 Page 12 of 22 Page ID
    Property Address: 291 W Overlook Rd, Palm Springs, CA 92264-8934    Date: February 12, 2021
                                               #:2639
    14. TIME PERIODS; REMOVAL OF CONTINGENCIES; CANCELLATION RIGHTS: The following time periods may only be extended,
        altered, modified or changed by mutual written agreement. Any removal of contingencies or cancellation under this paragraph by
        either Buyer or Seller must be exercised in good faith and in writing (C.A.R. Form CR or CC).
        A. SELLER HAS: 7 (or 3 ) Days After Acceptance to Deliver to Buyer all Reports, disclosures and information for which Seller is
            responsible under paragraphs 5, 6, 7, 8B(5), 10A, B, C, and F, 11A and 13A. If, by the time specified, Seller has not Delivered any
            such item, Buyer after first Delivering to Seller a Notice to Seller to Perform (C.A.R. Form NSP) may cancel this Agreement.
        B. (1) BUYER HAS: 17 (or            ) Days After Acceptance, unless otherwise agreed in writing, to:
            (i) complete all Buyer Investigations; review all disclosures, reports, lease documents to be assumed by Buyer pursuant to paragraph
                 8B(5), and other applicable information, which Buyer receives from Seller; and approve all matters affecting the Property; and (ii)
                 Deliver to Seller Signed Copies of Statutory and Lead Disclosures and other disclosures Delivered by Seller in accordance with
                 paragraph 10A.
            (2) Within the time specified in paragraph 14B(1), Buyer may request that Seller make repairs or take any other action regarding the
                 Property (C.A.R. Form RR). Seller has no obligation to agree to or respond to (C.A.R. Form RRRR) Buyer's requests.
            (3) By the end of the time specified in paragraph 14B(1) (or as otherwise specified in this Agreement), Buyer shall Deliver to Seller a
                 removal of the applicable contingency or cancellation (C.A.R. Form CR or CC) of this Agreement. However, if any report, disclosure
                 or information for which Seller is responsible is not Delivered within the time specified in paragraph 14A, then Buyer has 5 (or      )
                 Days After Delivery of any such items, or the time specified in paragraph 14B(1), whichever is later, to Deliver to Seller a removal of
                 the applicable contingency or cancellation of this Agreement.
            (4) Continuation of Contingency: Even after the end of the time specified in paragraph 14B(1) and before Seller cancels, if at all,
                 pursuant to paragraph 14D, Buyer retains the right, in writing, to either (i) remove remaining contingencies, or (ii) cancel this
                 Agreement based on a remaining contingency. Once Buyer's written removal of all contingencies is Delivered to Seller, Seller may
                 not cancel this Agreement pursuant to paragraph 14D(1).
            (5) Access to Property: Buyer shall have access to the Property to conduct inspections and investigations for 17 (or            ) Days After
                 Acceptance, whether or not any part of the Buyer's Investigation Contingency has been waived or removed.
        C. X REMOVAL OF CONTINGENCIES WITH OFFER: Buyer removes the contingencies specified in the attached Contingency
            Removal form (C.A.R. Form CR). If Buyer removes any contingency without an adequate understanding of the Property's
            condition or Buyer's ability to purchase, Buyer is acting against the advice of Broker.
        D. SELLER RIGHT TO CANCEL:
            (1) Seller right to Cancel; Buyer Contingencies: If, by the time specified in this Agreement, Buyer does not Deliver to Seller a
                 removal of the applicable contingency or cancellation of this Agreement, then Seller, after first Delivering to Buyer a Notice to Buyer
                 to Perform (C.A.R. Form NBP), may cancel this Agreement. In such event, Seller shall authorize the return of Buyer's deposit,
                 except for fees incurred by Buyer.
            (2) Seller right to Cancel; Buyer Contract Obligations: Seller, after first delivering to Buyer a NBP, may cancel this Agreement if, by
                 the time specified in this Agreement, Buyer does not take the following action(s): (i) Deposit funds as required by paragraph 3A, or
                 3B or if the funds deposited pursuant to paragraph 3A or 3B are not good when deposited; (ii) Deliver a notice of FHA or VA costs
                 or terms as required by paragraph 3D(3) (C.A.R. Form FVA); (iii) Deliver a letter as required by paragraph 3J(1); (iv) Deliver
                 verification, or a satisfactory verification if Seller reasonably disapproves of the verification already provided, as required by
                 paragraph 3C or 3H; (v) In writing assume or accept leases or liens specified in 8B5; (vi) Return Statutory and Lead Disclosures as
                 required by paragraph 10A(5); or (vii) Sign or initial a separate liquidated damages form for an increased deposit as required by
                 paragraphs 3B and 21B; or (viii) Provide evidence of authority to sign in a representative capacity as specified in paragraph 19. In
                 such event, Seller shall authorize the return of Buyer's deposit, except for fees incurred by Buyer.
        E. NOTICE TO BUYER OR SELLER TO PERFORM: The NBP or NSP shall: (i) be in writing; (ii) be signed by the applicable Buyer or
            Seller; and (iii) give the other Party at least 2 (or       ) Days After Delivery (or until the time specified in the applicable paragraph,
            whichever occurs last) to take the applicable action. A NBP or NSP may not be Delivered any earlier than 2 Days Prior to the expiration
            of the applicable time for the other Party to remove a contingency or cancel this Agreement or meet an obligation specified in paragraph 14.
        F. EFFECT OF BUYER'S REMOVAL OF CONTINGENCIES: If Buyer removes, in writing, any contingency or cancellation rights, unless
           otherwise specified in writing, Buyer shall conclusively be deemed to have: (i) completed all Buyer Investigations, and review of reports
           and other applicable information and disclosures pertaining to that contingency or cancellation right; (ii) elected to proceed with the
           transaction; and (iii) assumed all liability, responsibility and expense for Repairs or corrections pertaining to that contingency or
           cancellation right, or for the inability to obtain financing.
        G. CLOSE OF ESCROW: Before Buyer or Seller may cancel this Agreement for failure of the other Party to close escrow pursuant to this
           Agreement, Buyer or Seller must first Deliver to the other Party a demand to close escrow (C.A.R. Form DCE). The DCE shall: (i) be
           signed by the applicable Buyer or Seller; and (ii) give the other Party at least 3 (or         ) Days After Delivery to close escrow. A DCE
           may not be Delivered any earlier than 3 Days Prior to the scheduled close of escrow.
        H. EFFECT OF CANCELLATION ON DEPOSITS: If Buyer or Seller gives written notice of cancellation pursuant to rights duly exercised
           under the terms of this Agreement, the Parties agree to Sign mutual instructions to cancel the sale and escrow and release deposits, if
           any, to the party entitled to the funds, less fees and costs incurred by that party. Fees and costs may be payable to service providers
           and vendors for services and products provided during escrow. Except as specified below, release of funds will require mutual
           Signed release instructions from the Parties, judicial decision or arbitration award. If either Party fails to execute mutual
           instructions to cancel escrow, one Party may make a written demand to Escrow Holder for the deposit. (C.A.R. Form BDRD or SDRD).
           Escrow Holder, upon receipt, shall promptly deliver notice of the demand to the other Party. If, within 10 Days After Escrow Holder's
           notice, the other Party does not object to the demand, Escrow Holder shall disburse the deposit to the Party making the demand. If
           Escrow Holder complies with the preceding process, each Party shall be deemed to have released Escrow Holder from any and all
           claims or liability related to the disbursal of the deposit. Escrow Holder, at its discretion, may nonetheless require mutual cancellation
           instructions. A Party may be subject to a civil penalty of up to $1,000 for refusal to sign cancellation instructions if no good
           faith dispute exists as to who is entitled to the deposited funds (Civil Code §1057.3).

    Buyer's Initials   (        ) (                )                                                             Seller's Initials    (              ) (           )

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                           CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 6 OF 10)
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                                                                                                                                               Exhibit T - 12
DocuSign Envelope ID: 3AD33BF6-D0F1-4FC0-B41B-F563BC9C2BDE
                      2FB953FF-7D41-4893-BD7A-8A529DF53FAB
                      EB2F4A93-0270-4F69-9989-ABA1A3AE0074
           Case 5:21-cv-00616-JWH-SP Document 183-37 Filed 09/07/22 Page 13 of 22 Page ID
    Property Address: 291 W Overlook Rd, Palm Springs, CA 92264-8934                                       Date: February 12, 2021
                                                              #:2640
    15. FINAL VERIFICATION OF CONDITION: Buyer shall have the right to make a final verification of the Property within 5 (or  ) Days Prior
        to Close Of Escrow, NOT AS A CONTINGENCY OF THE SALE, but solely to confirm: (i) the Property is maintained pursuant to paragraph
        11; (ii) Repairs have been completed as agreed; and (iii) Seller has complied with Seller's other obligations under this Agreement (C.A.R.
        Form VP).
    16. REPAIRS: Repairs shall be completed prior to final verification of condition unless otherwise agreed in writing. Repairs to be performed at
        Seller's expense may be performed by Seller or through others, provided that the work complies with applicable Law, including
        governmental permit, inspection and approval requirements. Repairs shall be performed in a good, skillful manner with materials of quality
        and appearance comparable to existing materials. It is understood that exact restoration of appearance or cosmetic items following all
        Repairs may not be possible. Seller shall: (i) obtain invoices and paid receipts for Repairs performed by others; (ii) prepare a written
        statement indicating the Repairs performed by Seller and the date of such Repairs; and (iii) provide Copies of invoices and paid receipts
        and statements to Buyer prior to final verification of condition.
    17. PRORATIONS OF PROPERTY TAXES AND OTHER ITEMS: Unless otherwise agreed in writing, the following items shall be PAID
        CURRENT and prorated between Buyer and Seller as of Close Of Escrow: real property taxes and assessments, interest, rents, HOA
        regular, special, and emergency dues and assessments imposed prior to Close Of Escrow, premiums on insurance assumed by Buyer,
        payments on bonds and assessments assumed by Buyer, and payments on Mello-Roos and other Special Assessment District bonds and
        assessments that are now a lien. The following items shall be assumed by Buyer WITHOUT CREDIT toward the purchase price: prorated
        payments on Mello-Roos and other Special Assessment District bonds and assessments and HOA special assessments that are now a lien
        but not yet due. Property will be reassessed upon change of ownership. Any supplemental tax bills shall be paid as follows: (i) for periods
        after Close Of Escrow, by Buyer; and (ii) for periods prior to Close Of Escrow, by Seller (see C.A.R. Form SPT or SBSA for further
        information). TAX BILLS ISSUED AFTER CLOSE OF ESCROW SHALL BE HANDLED DIRECTLY BETWEEN BUYER AND SELLER.
        Prorations shall be made based on a 30-day month.
    18. BROKERS:
        A. COMPENSATION: Seller or Buyer, or both, as applicable, agree to pay compensation to Broker as specified in a separate written
            agreement between Broker and that Seller or Buyer. Compensation is payable upon Close Of Escrow, or if escrow does not close, as
            otherwise specified in the agreement between Broker and that Seller or Buyer.
        B. SCOPE OF DUTY: Buyer and Seller acknowledge and agree that Broker: (i) Does not decide what price Buyer should pay or Seller
            should accept; (ii) Does not guarantee the condition of the Property; (iii) Does not guarantee the performance, adequacy or
            completeness of inspections, services, products or repairs provided or made by Seller or others; (iv) Does not have an obligation
            to conduct an inspection of common areas or areas off the site of the Property; (v) Shall not be responsible for identifying defects
            on the Property, in common areas, or offsite unless such defects are visually observable by an inspection of reasonably accessible
            areas of the Property or are known to Broker; (vi) Shall not be responsible for inspecting public records or permits concerning the
            title or use of Property; (vii) Shall not be responsible for identifying the location of boundary lines or other items affecting title; (viii)
            Shall not be responsible for verifying square footage, representations of others or information contained in Investigation reports,
            Multiple Listing Service, advertisements, flyers or other promotional material; (ix) Shall not be responsible for determining the fair
            market value of the Property or any personal property included in the sale; (x) Shall not be responsible for providing legal or tax
            advice regarding any aspect of a transaction entered into by Buyer or Seller; and (xi) Shall not be responsible for providing
            other advice or information that exceeds the knowledge, education and experience required to perform real estate licensed
            activity. Buyer and Seller agree to seek legal, tax, insurance, title and other desired assistance from appropriate professionals.
    19. REPRESENTATIVE CAPACITY: If one or more Parties is signing this Agreement in a representative capacity and not for him/herself
        as an individual then that Party shall so indicate in paragraph 31 or 32 and attach a Representative Capacity Signature Disclosure
        (C.A.R. Form RCSD). Wherever the signature or initials of the representative identified in the RCSD appear on this Agreement
        or any related documents, it shall be deemed to be in a representative capacity for the entity described and not in an individual
        capacity, unless otherwise indicated. The Party acting in a representative capacity (i) represents that the entity for which that party is acting
        already exists and (ii) shall Deliver to the other Party and Escrow Holder, within 3 Days After Acceptance, evidence of authority to act in
        that capacity (such as but not limited to: applicable portion of the trust or Certification Of Trust (Probate Code §18100.5), letters
        testamentary, court order, power of attorney, corporate resolution, or formation documents of the business entity).
    20. JOINT ESCROW INSTRUCTIONS TO ESCROW HOLDER:
        A. The following paragraphs, or applicable portions thereof, of this Agreement constitute the joint escrow instructions
            of Buyer and Seller to Escrow Holder, which Escrow Holder is to use along with any related counter offers and addenda,
            and any additional mutual instructions to close the escrow: paragraphs 1, 3, 4B, 5A, 6, 7, 10C, 13, 14G, 17, 18A, 19, 20, 26,
            29, 30, 31, 32 and paragraph D of the section titled Real Estate Brokers on page 10. If a Copy of the separate compensation
            agreement(s) provided for in paragraph 18A, or paragraph D of the section titled Real Estate Brokers on page 10 is deposited
            with Escrow Holder by Broker, Escrow Holder shall accept such agreement(s) and pay out from Buyer's or Seller's funds, or
            both, as applicable, the Broker's compensation provided for in such agreement(s). The terms and conditions of this Agreement
            not set forth in the specified paragraphs are additional matters for the information of Escrow Holder, but about which Escrow
            Holder need not be concerned. Buyer and Seller will receive Escrow Holder's general provisions, if any, directly from Escrow
            Holder and will execute such provisions within the time specified in paragraph 7C(1)(c). To the extent the general provisions are
            inconsistent or conflict with this Agreement, the general provisions will control as to the duties and obligations of Escrow Holder
            only. Buyer and Seller will execute additional instructions, documents and forms provided by Escrow Holder that are reasonably
            necessary to close the escrow and, as directed by Escrow Holder, within 3 (or               ) Days, shall pay to Escrow Holder or HOA or
            HOA management company or others any fee required by paragraphs 7, 10 or elsewhere in this Agreement.
        B. A Copy of this Agreement including any counter offer(s) and addenda shall be delivered to Escrow Holder within 3 Days After
            Acceptance (or                                                                                       ). Buyer and Seller authorize Escrow
            Holder to accept and rely on Copies and Signatures as defined in this Agreement as originals, to open escrow and for other
            purposes of escrow. The validity of this Agreement as between Buyer and Seller is not affected by whether or when Escrow
            Holder Signs this Agreement. Escrow Holder shall provide Seller's Statement of Information to Title company when received
            from Seller. If Seller delivers an affidavit to Escrow Holder to satisfy Seller's FIRPTA obligation under paragraph 10C, Escrow
            Holder shall deliver to Buyer a Qualified Substitute statement that complies with federal Law.

    Buyer's Initials   (        ) (                )                                                             Seller's Initials    (              ) (           )
    RPA-CA REVISED 12/18 (PAGE 7 OF 10)
                        CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 7 OF 10)
                             Produced with Lone Wolf Transactions (zipForm Edition) 231 Shearson Cr. Cambridge, Ontario, Canada N1T 1J5   www.lwolf.com    291 W Overlook


                                                                                                                                               Exhibit T - 13
DocuSign Envelope ID: 3AD33BF6-D0F1-4FC0-B41B-F563BC9C2BDE
                      2FB953FF-7D41-4893-BD7A-8A529DF53FAB
                      EB2F4A93-0270-4F69-9989-ABA1A3AE0074
          Case 5:21-cv-00616-JWH-SP Document 183-37 Filed 09/07/22 Page 14 of 22 Page ID
    Property Address: 291 W Overlook Rd, Palm Springs, CA 92264-8934                                Date: February 12, 2021
                                                               #:2641
       C. Brokers are a party to the escrow for the sole purpose of compensation pursuant to paragraph 18A and paragraph D of             the
          section titled Real Estate Brokers on page 10. Buyer and Seller irrevocably assign to Brokers compensation specified in
          paragraph 18A, and irrevocably instruct Escrow Holder to disburse those funds to Brokers at Close Of Escrow or pursuant to any
          other mutually executed cancellation agreement. Compensation instructions can be amended or revoked only with the written
          consent of Brokers. Buyer and Seller shall release and hold harmless Escrow Holder from any liability resulting from Escrow
          Holder's payment to Broker(s) of compensation pursuant to this Agreement.
       D. Upon receipt, Escrow Holder shall provide Seller and Seller's Broker verification of Buyer's deposit of funds pursuant to
          paragraph 3A and 3B. Once Escrow Holder becomes aware of any of the following, Escrow Holder shall immediately notify all
          Brokers: (i) if Buyer's initial or any additional deposit or down payment is not made pursuant to this Agreement, or is not good at
          time of deposit with Escrow Holder; or (ii) if Buyer and Seller instruct Escrow Holder to cancel escrow.
       E. A Copy of any amendment that affects any paragraph of this Agreement for which Escrow Holder is responsible shall be
          delivered to Escrow Holder within 3 Days after mutual execution of the amendment.
    21.REMEDIES FOR BUYER'S BREACH OF CONTRACT:
       A. Any clause added by the Parties specifying a remedy (such as release or forfeiture of deposit or making a
          deposit non-refundable) for failure of Buyer to complete the purchase in violation of this Agreement shall
          be deemed invalid unless the clause independently satisfies the statutory liquidated damages
          requirements set forth in the Civil Code.
       B. LIQUIDATED DAMAGES: If Buyer fails to complete this purchase because of Buyer's default, Seller shall
          retain, as liquidated damages, the deposit actually paid. If the Property is a dwelling with no more than
          four units, one of which Buyer intends to occupy, then the amount retained shall be no more than 3% of the
          purchase price. Any excess shall be returned to Buyer. Except as provided in paragraph 14H, release of
          funds will require mutual, Signed release instructions from both Buyer and Seller, judicial decision or
          arbitration award. AT THE TIME OF ANY INCREASED DEPOSIT BUYER AND SELLER SHALL SIGN A
          SEPARATE LIQUIDATED DAMAGES PROVISION INCORPORATING THE INCREASED DEPOSIT AS
          LIQUIDATED DAMAGES (C.A.R. FORM RID).
                              Buyer's Initials                  /                                                        Seller's Initials               /
    22. DISPUTE RESOLUTION:
       A. MEDIATION: The Parties agree to mediate any dispute or claim arising between them out of this Agreement, or any resulting
          transaction, before resorting to arbitration or court action through the C.A.R. Real Estate Mediation Center for Consumers
          (www.consumermediation.org) or through any other mediation provider or service mutually agreed to by the Parties. The Parties also
          agree to mediate any disputes or claims with Broker(s), who, in writing, agree to such mediation prior to, or within a
          reasonable time after, the dispute or claim is presented to the Broker. Mediation fees, if any, shall be divided equally among the
          Parties involved. If, for any dispute or claim to which this paragraph applies, any Party (i) commences an action without first attempting
          to resolve the matter through mediation, or (ii) before commencement of an action, refuses to mediate after a request has been made,
          then that Party shall not be entitled to recover attorney fees, even if they would otherwise be available to that Party in any such action.
          THIS MEDIATION PROVISION APPLIES WHETHER OR NOT THE ARBITRATION PROVISION IS INITIALED. Exclusions from this
          mediation agreement are specified in paragraph 22C.
       B. ARBITRATION OF DISPUTES:
          The Parties agree that any dispute or claim in Law or equity arising between them out of this Agreement or
          any resulting transaction, which is not settled through mediation, shall be decided by neutral, binding
          arbitration. The Parties also agree to arbitrate any disputes or claims with Broker(s), who, in writing, agree
          to such arbitration prior to, or within a reasonable time after, the dispute or claim is presented to the
          Broker. The arbitrator shall be a retired judge or justice, or an attorney with at least 5 years of residential
          real estate Law experience, unless the parties mutually agree to a different arbitrator. The Parties shall
          have the right to discovery in accordance with Code of Civil Procedure §1283.05. In all other respects, the
          arbitration shall be conducted in accordance with Title 9 of Part 3 of the Code of Civil Procedure. Judgment
          upon the award of the arbitrator(s) may be entered into any court having jurisdiction. Enforcement of this
          agreement to arbitrate shall be governed by the Federal Arbitration Act. Exclusions from this arbitration
          agreement are specified in paragraph 22C.
             “NOTICE: BY INITIALING IN THE SPACE BELOW YOU ARE AGREEING TO HAVE ANY DISPUTE
          ARISING OUT OF THE MATTERS INCLUDED IN THE 'ARBITRATION OF DISPUTES' PROVISION DECIDED
          BY NEUTRAL ARBITRATION AS PROVIDED BY CALIFORNIA LAW AND YOU ARE GIVING UP ANY RIGHTS
          YOU MIGHT POSSESS TO HAVE THE DISPUTE LITIGATED IN A COURT OR JURY TRIAL. BY INITIALING IN
          THE SPACE BELOW YOU ARE GIVING UP YOUR JUDICIAL RIGHTS TO DISCOVERY AND APPEAL,
          UNLESS THOSE RIGHTS ARE SPECIFICALLY INCLUDED IN THE 'ARBITRATION OF DISPUTES'
          PROVISION. IF YOU REFUSE TO SUBMIT TO ARBITRATION AFTER AGREEING TO THIS PROVISION, YOU
          MAY BE COMPELLED TO ARBITRATE UNDER THE AUTHORITY OF THE CALIFORNIA CODE OF CIVIL
          PROCEDURE. YOUR AGREEMENT TO THIS ARBITRATION PROVISION IS VOLUNTARY.”
             “WE HAVE READ AND UNDERSTAND THE FOREGOING AND AGREE TO SUBMIT DISPUTES ARISING
          OUT OF THE MATTERS INCLUDED IN THE 'ARBITRATION OF DISPUTES' PROVISION TO NEUTRAL
          ARBITRATION.”
                              Buyer's Initials                  /                                                        Seller's Initials               /
       C. ADDITIONAL MEDIATION AND ARBITRATION TERMS:
          (1) EXCLUSIONS: The following matters are excluded from mediation and arbitration: (i) a judicial or non-judicial foreclosure
              or other action or proceeding to enforce a deed of trust, mortgage or installment land sale contract as defined in Civil
              Code §2985; (ii) an unlawful detainer action; and (iii) any matter that is within the jurisdiction of a probate, small claims or
              bankruptcy court.
    Buyer's Initials (     ) (          )                                 Seller's Initials (                                                      ) (           )
    RPA-CA REVISED 12/18 (PAGE 8 OF 10)
                               CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 8 OF 10)
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                                                                                                                                             Exhibit T - 14
DocuSign Envelope ID: 3AD33BF6-D0F1-4FC0-B41B-F563BC9C2BDE
                      2FB953FF-7D41-4893-BD7A-8A529DF53FAB
                      EB2F4A93-0270-4F69-9989-ABA1A3AE0074
             Case 5:21-cv-00616-JWH-SP Document 183-37 Filed 09/07/22 Page 15 of 22 Page ID
    Property Address: 291 W Overlook Rd, Palm Springs, CA 92264-8934     Date: February 12, 2021
                                                #:2642
               (2) PRESERVATION OF ACTIONS: The following shall not constitute a waiver nor violation of the mediation and arbitration
                   provisions: (i) the filing of a court action to preserve a statute of limitations; (ii) the filing of a court action to enable the
                   recording of a notice of pending action, for order of attachment, receivership, injunction, or other provisional remedies; or
                   (iii) the filing of a mechanic's lien.
               (3) BROKERS: Brokers shall not be obligated nor compelled to mediate or arbitrate unless they agree to do so in writing. Any
                   Broker(s) participating in mediation or arbitration shall not be deemed a party to this Agreement.
    23.   SELECTION OF SERVICE PROVIDERS: Brokers do not guarantee the performance of any vendors, service or product providers
          (“Providers”), whether referred by Broker or selected by Buyer, Seller or other person. Buyer and Seller may select ANY Providers of their
          own choosing.
    24.   MULTIPLE LISTING SERVICE (“MLS”): Brokers are authorized to report to the MLS a pending sale and, upon Close Of Escrow, the sales
          price and other terms of this transaction shall be provided to the MLS to be published and disseminated to persons and entities authorized
          to use the information on terms approved by the MLS.
    25.   ATTORNEY FEES: In any action, proceeding, or arbitration between Buyer and Seller arising out of this Agreement, the prevailing Buyer or
          Seller shall be entitled to reasonable attorney fees and costs from the non-prevailing Buyer or Seller, except as provided in paragraph 22A.
    26.   ASSIGNMENT: Buyer shall not assign all or any part of Buyer's interest in this Agreement without first having obtained the separate written
          consent of Seller to a specified assignee. Such consent shall not be unreasonably withheld. Any total or partial assignment shall not
          relieve Buyer of Buyer's obligations pursuant to this Agreement unless otherwise agreed in writing by Seller. (C.A.R. Form AOAA).
    27.   EQUAL HOUSING OPPORTUNITY: The Property is sold in compliance with federal, state and local anti-discrimination Laws.
    28.   TERMS AND CONDITIONS OF OFFER: This is an offer to purchase the Property on the above terms and conditions. The liquidated
          damages paragraph or the arbitration of disputes paragraph is incorporated in this Agreement if initialed by all Parties or if incorporated by
          mutual agreement in a counter offer or addendum. If at least one but not all Parties initial, a counter offer is required until agreement is
          reached. Seller has the right to continue to offer the Property for sale and to accept any other offer at any time prior to notification of
          Acceptance. The Parties have read and acknowledge receipt of a Copy of the offer and agree to the confirmation of agency relationships. If
          this offer is accepted and Buyer subsequently defaults, Buyer may be responsible for payment of Brokers' compensation. This Agreement
          and any supplement, addendum or modification, including any Copy, may be Signed in two or more counterparts, all of which shall
          constitute one and the same writing.
    29.   TIME OF ESSENCE; ENTIRE CONTRACT; CHANGES: Time is of the essence. All understandings between the Parties are incorporated in this
          Agreement. Its terms are intended by the Parties as a final, complete and exclusive expression of their Agreement with respect to its subject matter,
          and may not be contradicted by evidence of any prior agreement or contemporaneous oral agreement. If any provision of this Agreement is held to
          be ineffective or invalid, the remaining provisions will nevertheless be given full force and effect. Except as otherwise specified, this Agreement shall
          be interpreted and disputes shall be resolved in accordance with the Laws of the State of California. Neither this Agreement nor any provision in
          it may be extended, amended, modified, altered or changed, except in writing Signed by Buyer and Seller.
    30.   DEFINITIONS: As used in this Agreement:
          A. “Acceptance” means the time the offer or final counter offer is accepted in writing by a Party and is delivered to and personally
               received by the other Party or that Party's authorized agent in accordance with the terms of this offer or a final counter offer.
          B. “Agreement” means this document and any counter offers and any incorporated addenda, collectively forming the binding agreement
               between the Parties. Addenda are incorporated only when Signed by all Parties.
          C. “C.A.R. Form” means the most current version of the specific form referenced or another comparable form agreed to by the parties.
          D. “Close Of Escrow”, including “COE”, means the date the grant deed, or other evidence of transfer of title, is recorded.
          E. “Copy” means copy by any means including photocopy, NCR, facsimile and electronic.
          F. “Days” means calendar days. However, after Acceptance, the last Day for performance of any act required by this Agreement
               (including Close Of Escrow) shall not include any Saturday, Sunday, or legal holiday and shall instead be the next Day.
          G. “Days After” means the specified number of calendar days after the occurrence of the event specified, not counting the calendar date
               on which the specified event occurs, and ending at 11:59 PM on the final day.
          H. “Days Prior” means the specified number of calendar days before the occurrence of the event specified, not counting the calendar
               date on which the specified event is scheduled to occur.
          I. “Deliver”, “Delivered” or “Delivery”, unless otherwise specified in writing, means and shall be effective upon: personal receipt by
               Buyer or Seller or the individual Real Estate Licensee for that principal as specified in the section titled Real Estate Brokers on page 10,
               regardless of the method used (i.e., messenger, mail, email, fax, other).
          J. “Electronic Copy” or “Electronic Signature” means, as applicable, an electronic copy or signature complying with California Law.
               Buyer and Seller agree that electronic means will not be used by either Party to modify or alter the content or integrity of this Agreement
               without the knowledge and consent of the other Party.
          K. “Law” means any law, code, statute, ordinance, regulation, rule or order, which is adopted by a controlling city, county, state or federal
               legislative, judicial or executive body or agency.
          L. “Repairs” means any repairs (including pest control), alterations, replacements, modifications or retrofitting of the Property provided for
               under this Agreement.
          M. “Signed” means either a handwritten or electronic signature on an original document, Copy or any counterpart.
    31.   EXPIRATION OF OFFER: This offer shall be deemed revoked and the deposit, if any, shall be returned to Buyer unless the offer is Signed
          by Seller and a Copy of the Signed offer is personally received by Buyer, or by                                  BUYERS AGENT                          ,
          who is authorized to receive it, by 5:00 PM on the third Day after this offer is signed by Buyer (or by                                       AM/ PM,
          on                                       (date)).
      One or more Buyers is signing this Agreement in a representative capacity and not for him/herself as an individual. See attached
    Representative Capacity Signature Disclosure (C.A.R. Form RCSD-B) for additional terms.
           2/14/2021
    Date                          BUYER
    (Print name) Scott Howlett
    Date                          BUYER
    (Print name)
      Additional Signature Addendum attached (C.A.R. Form ASA).
                                                                                                                    Seller's Initials    (              ) (           )
    RPA-CA REVISED 12/18 (PAGE 9 OF 10)
                        CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 9 OF 10)
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                                                                                                                                                  Exhibit T - 15
DocuSign Envelope ID: 3AD33BF6-D0F1-4FC0-B41B-F563BC9C2BDE
                      2FB953FF-7D41-4893-BD7A-8A529DF53FAB
                      EB2F4A93-0270-4F69-9989-ABA1A3AE0074
            Case 5:21-cv-00616-JWH-SP Document 183-37 Filed 09/07/22 Page 16 of 22 Page ID
    Property Address: 291 W Overlook Rd, Palm Springs, CA 92264-8934    Date: February 12, 2021
                                               #:2643
    32. ACCEPTANCE OF OFFER: Seller warrants that Seller is the owner of the Property, or has the authority to execute this Agreement.
        Seller accepts the above offer, and agrees to sell the Property on the above terms and conditions. Seller has read and
        acknowledges receipt of a Copy of this Agreement, and authorizes Broker to Deliver a Signed Copy to Buyer.
            (If checked) SELLER'S ACCEPTANCE IS SUBJECT TO ATTACHED COUNTER OFFER (C.A.R. Form SCO or SMCO) DATED:
                                              .
        One or more Sellers is signing this Agreement in a representative capacity and not for him/herself as an individual. See attached
        Representative Capacity Signature Disclosure (C.A.R. Form RCSD-S) for additional terms.
    Date
      2/16/2021 | SELLER
                  8:06 PM PST
    (Print name) Artur Elizarov
    Date                    SELLER
    (Print name)
       Additional Signature Addendum attached (C.A.R. Form ASA).
    ( _____ / _____ ) (Do not initial if making a counter offer.) CONFIRMATION OF ACCEPTANCE: A Copy of Signed Acceptance was
        (Initials)    personally received by Buyer or Buyer's authorized agent on (date) 2/25/2021                 at
                         AM/     PM. A binding Agreement is created when a Copy of Signed Acceptance is personally received by
                      Buyer or Buyer's authorized agent whether or not confirmed in this document. Completion of this confirmation
                      is not legally required in order to create a binding Agreement; it is solely intended to evidence the date that
                      Confirmation of Acceptance has occurred.
    REAL ESTATE BROKERS:
    A. Real Estate Brokers are not parties to the Agreement between Buyer and Seller.
    B. Agency relationships are confirmed as stated in paragraph 2.
    C. If specified in paragraph 3A(2), Agent who submitted the offer for Buyer acknowledges receipt of deposit.
    D. COOPERATING (BUYER'S) BROKER COMPENSATION: Seller's Broker agrees to pay Buyer's Broker and Buyer's Broker agrees to
        accept, out of Seller's Broker's proceeds in escrow, the amount specified in the MLS, provided Buyer's Broker is a Participant of the MLS in
        which the Property is offered for sale or a reciprocal MLS. If Seller's Broker and Buyer's Broker are not both Participants of the MLS, or a
        reciprocal MLS, in which the Property is offered for sale, then compensation must be specified in a separate written agreement (C.A.R.
        Form CBC). Declaration of License and Tax (C.A.R. Form DLT) may be used to document that tax reporting will be required or that an
        exemption exists.
    E. PRESENTATION OF OFFER: Pursuant to Standard of Practice 1-7, if Buyer's Broker makes a written request, Seller's Broker shall confirm
    in writing that this offer has been presented to Seller.
    Buyer's Brokerage Firm Compass                                                                              DRE Lic. # 01527365
                                                                                                                         2/13/2021
    By                                                       Maria Noel Krajco DRE Lic. # 02092247                   Date
    By                                                                           DRE Lic. #                          Date
    Address 2165 San Diego Ave                                           City San Diego                        State CA      Zip 92110-2906
    Telephone (714)580-9103                     Fax                                E-mail mariasellscali@gmail.com
    Seller's Brokerage Firm Keller Williams Luxury Homes                                                       DRE Lic. # 01417409
    By                                                              Will Cook DRE Lic. # 01879277                    Date 2/16/2021 | 7:51 PM PST
    By                                                                           DRE Lic. #                          Date
    Address 435 North Palm Canyon                                        City Palm Springs                     State CA      Zip 92262
    Telephone (760)565-5714                     Fax (760)322-9266                  E-mail will@willcookrealestate.com

    ESCROW HOLDER ACKNOWLEDGMENT:
    Escrow Holder acknowledges receipt of a Copy of this Agreement, (if checked,     a deposit in the amount of $                                  ),
    counter offer numbers                                        Seller's Statement of Information and
                                                                 , and agrees to act as Escrow Holder subject to paragraph 20 of this Agreement, any
    supplemental escrow instructions and the terms of Escrow Holder's general provisions.
    Escrow Holder is advised that the date of Confirmation of Acceptance of the Agreement as between Buyer and Seller is
    Escrow Holder                                                                                                       Escrow #
    By                                                                                                                                                     Date
    Address
    Phone/Fax/E-mail
    Escrow Holder has the following license number #
       Department of Financial Protection and Innovation,              Department of Insurance,            Department of Real Estate.

    PRESENTATION OF OFFER: (                                           ) Seller's Broker presented this offer to Seller on                         2/14/2021                             (date).
                                         Broker or Designee Initials

    REJECTION OF OFFER: (                      )(             ) No counter offer is being made. This offer was rejected by Seller on                                                     (date).
                                         Seller's Initials
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    form, or any portion thereof, by photocopy machine or any other means, including facsimile or computerized formats.
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    OR ACCURACY OF ANY PROVISION IN ANY SPECIFIC TRANSACTION. A REAL ESTATE BROKER IS THE PERSON QUALIFIED TO ADVISE ON REAL ESTATE
    TRANSACTIONS. IF YOU DESIRE LEGAL OR TAX ADVICE, CONSULT AN APPROPRIATE PROFESSIONAL.

              Published and Distributed by:                        Buyer Acknowledges that page 10 is part of this Agreement                  (            ) (               )
              REAL ESTATE BUSINESS SERVICES, LLC.                                                                                                    Buyer's Initials
              a subsidiary of the CALIFORNIA ASSOCIATION OF REALTORS®
              525 South Virgil Avenue, Los Angeles, California 90020
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                                   CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT (RPA-CA PAGE 10 OF 10)
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                                                                                                                                                       Exhibit T - 16
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                                   #:2644

                                                           Exhibit T-2




                                                              Exhibit T - 17
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                                      291 W Overlook183-37      FiledCA09/07/22
                                                     Rd, Palm Springs,                Page 18 of 22 Page ID
                                                                        92264 - realtor.com®
                                                    #:2645




    Seller represented by:
    Will Cook with Keller Williams Luxury Homes
      Buyer represented by:
      Maria Noel Krajco KUD properties, Inc.




                                                                              Last Sold for   $1,355,000

                      3        3.5      2,346       7,841
                                                                           NEW
                                                                                    View up to 3 home estimates


          Map        beds      baths       sq ft     sqft lot
                                                                FEMA
    Commute Time
                     291 W Overlook Rd,                         Zone X
                                                                (est.) •
                     Palm Springs, CA 92264                     Flood
                                                                Factor
                                                                  1/10




https://www.realtor.com/realestateandhomes-detail/291-W-Overlook-Rd_Palm-Springs_CA_92264_M12555-59996                    1/8
                                                                                                         Exhibit T - 18
4/27/2021 Case5:21-cv-00616-JWH-SP Document
                                          291 W Overlook183-37      FiledCA09/07/22
                                                         Rd, Palm Springs,                Page 19 of 22 Page ID
                                                                            92264 - realtor.com®
                                                        #:2646
    Property Overview - Welcome to Palm Springs living at it's nest. This beautiful Contemporary
    estate located in The Mesa features 3 Bedrooms and 3.5 Baths in 2346 sq. ft.. Remodeled nishes
    include quartz kitchen counters, stained concrete oors and 3 en-suite bedrooms with great
    separation for privacy. From the new repit conveniently situated near the living room and between
    two bedroom suites to the multiple shade sails creating perfect conversation niches, nothing has
    been overlooked in terms of creating the ultimate Palm Springs retreat. An entertainers delight with
      oor-to-ceiling glass overlooking a front-loaded heated pool. Imagine enjoying the incredible Palm
    Springs weather from the oversized pool or any one of the exterior entertaining spaces. This
    incredible location takes advantage of the San Jacinto mountain views. All common spaces and
    suites have separate AC units. Perfect as a primary, secondary or investment property. Make your
    private showing appointment today!




                             113                      $1,355,000                30
                             Days on market           Neighborhood              Days since
                             until sold               Median Price              last sold




           Property Details

              
             Status
                                             
                                         Price/Sq Ft
                                                                           
                                                                           Type
                                                                                                         
                                                                                                         Built
              Sold                          $578                Single Family Home                       1945



    Property Features

    Bedrooms                                                   Bathrooms
       Bedrooms: 3                                                 Total Bathrooms: 4.00
                                                                   Full Bathrooms: 3
                                                                   1/2 Bathrooms: 1



    Appliances

       Dishwasher                                                  Gas Cooktop
       Dryer                                                       Refrigerator
       Electric Cooktop                                            Washer

    Other Rooms

       Dining Area

    Heating and Cooling


https://www.realtor.com/realestateandhomes-detail/291-W-Overlook-Rd_Palm-Springs_CA_92264_M12555-59996                     2/8
                                                                                                          Exhibit T - 19
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                                   #:2647

                                                           Exhibit T-3




                                                              Exhibit T - 20
4/27/2021 Case   5:21-cv-00616-JWH-SP
                                    291 WDocument      183-37
                                         Overlook Rd, Palm          Filed
                                                           Springs, CA     09/07/22
                                                                       92264             Page
                                                                             | MLS# 219054113    21 of 22 Page ID
                                                                                              | Redfin
                                                       #:2648
                                                                                                                    14
         Feed


          Feed        Overview           Listing Details         Sale & Tax History   Public Facts   Schools


     SOLD MAR 29, 2021




         Street View



291 W Overlook Rd, Palm Springs, CA 92264

$1,355,000                        3                3.5               2,346
Sold Price                        Beds             Baths             Sq Ft


Recently Sold
This home sold 4 weeks ago.




About This Home

Welcome to Palm Springs living at it's nest. This beautiful Contemporary estate located in The
Mesa features 3 Bedrooms and 3.5 Baths in 2346 sq. ft. . Remodeled nishes include quartz
kitchen counters, stained concrete oors and 3 en-suite bedrooms with great separation for

Continue reading
Listed by Will Cook • DRE #01879277 • Keller Williams Luxury Homes
Listed by Will Cook Group • DRE #01879277 • Keller Williams Luxury Homes

Red n last checked: 4 minutes ago | Last updated Mar 30, 2021• Source: GPSMLS

Bought with Maria Noel Krajco • DRE #02092247 • KUD Properties, Inc.


Price Insights
https://www.redfin.com/CA/Palm-Springs/291-W-Overlook-Rd-92264/home/5709600                                          1/29
                                                                                                Exhibit T - 21
4/27/2021 Case   5:21-cv-00616-JWH-SP
                                    291 WDocument      183-37
                                         Overlook Rd, Palm          Filed
                                                           Springs, CA     09/07/22
                                                                       92264             Page
                                                                             | MLS# 219054113    22 of 22 Page ID
                                                                                              | Redfin
                                                       #:2649

Red n Estimate                                                                                            $1,341,788

Price/Sq.Ft.                                                                                                     $578

Buyer's Brokerage Commission                                                                                     2.5%


Home Facts


Status                                                                                                         Closed

Property Type                                                                              Single Family Residence

Year Built                                                                                                       1945

Community                                                                                                  The Mesa

Lot Size                                                                                                7,841 Sq. Ft.

MLS#                                                                                                      219054113




                                                                                                          Map data ©2021


Map Nearby Homes For Sale                                                     Expand Map    Street View     Directions




     Red n Estimate for 291 W Overlook Rd

     Edit Home Facts to improve accuracy.

     Create an Owner Estimate
https://www.redfin.com/CA/Palm-Springs/291-W-Overlook-Rd-92264/home/5709600                                           2/29
                                                                                             Exhibit T - 22
